          Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 1 of 70



1                                                                     The Honorable Thomas S. Zilly

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8                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
9                                       AT SEATTLE

10
       STRIKE 3 HOLDINGS, LLC, a
11     Delaware corporation,                              No. 2:17-cv-01731-TSZ

12                                Plaintiff,              DECLARATION OF LINCOLN
                                                          BANDLOW IN SUPPORT OF
13                v.                                      PLAINTIFF/COUNTER-
                                                          DEFENDANT’S MOTION TO
14     JOHN DOE, subscriber assigned IP                   COMPEL ECONOMICS
       address 73.225.38.130,                             INTERNATIONAL
15                                                        CORPORATION’S COMPLIANCE
                                  Defendant.              WITH RULE 45 SUBPOENA
16
                                                          Note on Motion Calendar:
17                                                        July 5, 2019

18

19

20           I, Lincoln Bandlow, do hereby state and declare as follows:
21           1.        My name is Lincoln Bandlow. I am over the age of 18 and am otherwise
22   competent to make this declaration.
23           2.        This declaration is based on my personal knowledge and, if called upon to
24   do so, I will testify that the facts stated herein are true and accurate.
25           3.        I represent Strike 3 Holdings, LLC (“Strike 3” or “Plaintiff”) in the above-
26    captioned matter.
     BANDLOW DECL. IN SUPPORT OF PLAINTIFF’S
     MOTION TO COMPEL ECONOMICS INTERNATIONAL
     CORPORATION’S COMPLIANCE WITH SUBPOENA
     No. 2:17-cv-01731-TSZ – Page 1
         Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 2 of 70



1           4.      Concurrently-filed Exhibit “A” contains a true and correct copy of email

2    correspondence between myself and Mr. Curtis Edmondson regarding the Rule 45

3    subpoenas and production of responsive documents.

4           5.      Concurrently-filed Exhibit “B” contains a true and correct copy of Strike 3’s

5    Notice of Subpoena, Subpoena and Document Request issued on Economics International

6    Corporation (care of Eric Fruits) on May 6, 2019.

7           6.      Concurrently-filed Exhibit “C” contains a true and correct copy of Mr.

8    Fruits’ Estimate of time and expense.

9           7.      Concurrently-filed Exhibit “D” contains a true and correct copy of Strike 3’s

10   conferral letter regarding the deficient responses by Economics International Corporation

11   sent on June 11, 2019.

12          8.      Plaintiff received Economics International Corporation’s responses and

13   objections to Plaintiff’s subpoena on May 20, 2019. See Exhibit “A.”

14          9.      On June 4, 2019, Defendant’s counsel noted that Defendant’s experts would

15   not comply with the subpoena unless they were first paid, stating “Since these costs are now

16   not recoverable under the copyright act, Rimini, we require all expert prep costs requested

17   by the other side to be paid in advance.” See id.

18          10.     In response, Strike 3 explained its issues with Defendant’s request and noted

19   that it would be willing to pay the cost of copying and shipping as well as any expert hourly

20   fee for the time spent on tasks which required expert knowledge and skill. See Id.

21          11.     Defendant then sent Mr. Fruits’ estimate of time and expense, see Exhibit

22   “C,” on June 5, and concluded that the parties should meet and confer if Strike 3 wanted to

23   move to compel. See Exhibit “A.”

24

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26
     BANDLOW DECL. IN SUPPORT OF PLAINTIFF’S
     MOTION TO COMPEL ECONOMICS INTERNATIONAL
     CORPORATION’S COMPLIANCE WITH SUBPOENA
     No. 2:17-cv-01731-TSZ – Page 2
         Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 3 of 70



1           I declare under penalty of perjury under the laws of the United States of America that

2    the foregoing is true and correct.

3           Executed on this 20th of June, 2019, at Los Angeles, California.

4
                                                  /s/ Lincoln Bandlow
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     BANDLOW DECL. IN SUPPORT OF PLAINTIFF’S
     MOTION TO COMPEL ECONOMICS INTERNATIONAL
     CORPORATION’S COMPLIANCE WITH SUBPOENA
     No. 2:17-cv-01731-TSZ – Page 3
          Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 4 of 70



1                                   CERTIFICATE OF SERVICE
2            I, Jeremy Roller, hereby certify that on June 20, 2019, I electronically filed the
3    foregoing document with the Clerk of the Court using the CM/ECF system which will send
4    notification of filing to the following parties:
5
                     Adrienne D. McEntee, WSBA #34061
6
                     Beth E. Terrell, WSBA #26759
7                    Email: bterrell@terrellmarshall.com
                     amcentee@terrellmarshall.com
8                    936 North 34th Street, Suite 300
                     Seattle, Washington 98103-8869
9                    Telephone: (206) 816-6603
                     Facsimile: (206) 319-5450
10

11                   J. Curtis Edmondson, WSBA #43795
                     Email: jcedmondson@edmolaw.com
12                   EDMONDSON IP LAW
                     399 NE John Olsen Avenue Hillsboro
13                   Oregon 97124
14                   Telephone: (503) 336-3749

15                   Attorneys for Defendant

16

17   DATED this 20th day of June 2019 at Seattle, Washington.

18

19                                                      /s/ Jeremy E. Roller
                                                        Jeremy E. Roller
20

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26
     BANDLOW DECL. IN SUPPORT OF PLAINTIFF’S
     MOTION TO COMPEL ECONOMICS INTERNATIONAL
     CORPORATION’S COMPLIANCE WITH SUBPOENA
     No. 2:17-cv-01731-TSZ – Page 4
Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 5 of 70




  EXHIBIT A
           Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 6 of 70



From: Lincoln Bandlow lincoln@bandlowlaw.com
Subject: FW: WAWD1003 -- Notices of Intent to Serve Subpoenas on Kalman C. Toth, Eric Fruits (Economics International), and
Michael Yasumoto (Deadbolt Forensics)
Date: May 5, 2019 at 11:38 PM
To: J. Curtis Edmondson jcedmondson@edmolaw.com
Cc: amcentee@terrellmarshall.com, bterrell@terrellmarshall.com
Dear Curt,
Thank you for agreeing to accept service on behalf of all John Doe’s experts in the above
referenced matter. Enclosed please find Strike 3 Holdings, LLC’s subpoenas to Kalman
C. Toth, Economics International Corp. c/o Eric Fruits, and Deadbolt Forensics LLC c/o
Michael Yasumoto. Please note that the subpoenas are only for the production of
documents and not for the taking of any depositions.
To minimize any unnecessary costs, Strike 3 requests that each expert produce the
responsive documents in electronic form if possible. Responsive documents should be
produced to me at: Lincoln@bandlowlaw.com. If necessary, Strike 3 is willing to assist in
the production of larger electronic files by providing an electronic storage cloud or device
upon request. Please let me know if you have any questions or concerns.
Thank you for your cooperation,
Notice of Intent
to Serv…its.pdf
Notice of Intent
to Serv…oth.pdf
Notice of Intent
to Serv…oto.pdf


From: J. Curtis Edmondson <jcedmondson@edmolaw.com>
Sent: Monday, May 20, 2019 10:11 PM
To: Lincoln Bandlow <lincoln@bandlowlaw.com>; Adrienne McEntee <amcentee@terrellmarshall.com>
Cc: John Atkin <JAtkin@atkinfirm.com>; DN@newmanlaw.com; Jeremy Roller <jroller@aretelaw.com>;
Rachel Horvitz <Rachel@newmanlaw.com>
Subject: RE: [External] RE: Strike 3 Holdings v. John Doe (73.225.38.130), C17-1731 TSZ (W.D. Wash.)


Counsel:

Please find the attached responses and objections to the discovery requests for our three experts. Please call me if
you have any questions about these responses.

In Best Regards,

J. Curtis Edmondson, Patent Attorney | Edmondson IP Law
USPTO 57027 | CA SBN 236105 | WA SBN 43795 | DC BAR NO 998407 | CA PE 13377| WA PE 43728
Venture Commerce Center, 3699 NE John Olsen Ave, Hillsboro OR 97124
ph: (503) 336-3749 | fax: (503) 482-7418
jcedmondson@edmolaw.com | www.edmolaw.com
          Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 7 of 70




On June 4, 2019 at 2:00 PM Lincoln Bandlow <lincoln@bandlowlaw.com> wrote:

Curt,



Have you produced any documents from your experts? I don’t recall receiving any.



Lincoln Bandlow




1801 Century Park East, Suite 2400

Los Angeles, CA 90067

P: (310) 556-9680 | F: (310) 861-5550

Lincoln@BandlowLaw.com

www.BandlowLaw.com



From: J. Curtis Edmondson <jcedmondson@edmolaw.com>
Sent: Tuesday, June 4, 2019 11:21 AM
To: Lincoln Bandlow <lincoln@bandlowlaw.com>; Adrienne McEntee
<amcentee@terrellmarshall.com>; jcedmondson@edmolaw.com
Subject: Re: WAWD1003


Hi Lincoln,

We served our expert reports on March 15, 2019.

If this is about the expert depos, you asked for documents in connection with the depositions. I got an estimate from
Michael Yasumoto and he estimated that there would be 20 hours of time to get the documents. So you need to cut
a check for 5K and then the number of hours for the depo.

Then there are documents for Fruits and Toth. I would expect the costs to be the same.
          Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 8 of 70



Since these costs are now not recoverable under the copyright act, Rimini, we require all expert prep costs requested
by the other side to be paid in advance.

B. Regards,

J. Curtis Edmondson, Patent Attorney | Edmondson IP Law
USPTO 57027 | CA SBN 236105 | WA SBN 43795 | DC BAR NO 998407 | CA PE 13377| WA PE 43728
Venture Commerce Center, 3699 NE John Olsen Ave, Hillsboro OR 97124
ph: (503) 336-3749 | fax: (503) 482-7418
jcedmondson@edmolaw.com | www.edmolaw.com


        From: Lincoln Bandlow lincoln@bandlowlaw.com
Subject: RE: WAWD1003
Date: June 4, 2019 at 12:43 PM

To: J. Curtis Edmondson jcedmondson@edmolaw.com, Adrienne McEntee amcentee@terrellmarshall.com



Curtis,
I understand that you are demanding payment for each expert’s response time. However, I never
received an invoice from any expert itemizing the cost (the amount of hours required and the
details of each task). To date, no one has provided any basis for the cost at all, and at least two
of the experts failed to provide any actual cost. This is evidenced by your email below. I also
never received any actual legal support which would remotely indicate that these are costs Strike
3 should bear. In fact, from my research, the opposite is true. Indeed, there is basis to support
our position that a party is not responsible for paying an expert his hourly expert rate to conduct
administrative tasks to comply with a subpoena. Estate of Lynott by & through Lynott v.
Luckovich, No. C14-0503RSL, 2016 WL 11271942, at *2 (W.D. Wash. Mar. 3, 2016). On a few
occasions your experts even sited (and therefore relied on) a number of website articles that have
since been taken down from the respective websites. I sincerely doubt Strike 3 should bear the
burden of any administrative cost associated with hunting those articles down. Your experts
were required under Rule 26(a) to disclose much of the material the subpoena requested anyway,
and “[r]equired disclosures have never been compensable[.]” Young v. Liberty Mut. Grp. Inc.,
No. CV-12-02302-PHX-JAT, 2015 WL 12669890, at *2 (D. Ariz. Jan. 8, 2015). Therefore,
having to pay for the production of those documents is unreasonable. Strike 3 has not even
served your experts with subpoenas for depositions, but when we do, we of course intend on
paying them for their time. The subpoenas served are for the production of documents and
nothing more. No one is asking them to prepare for a deposition.
Notwithstanding these violations and the invalid reasons upon which they are likely based, Strike
3 agrees to pay the cost of any third-party copying service and shipping. Please also note that
Strike 3 previously agreed to pay the cost of electronic production through a cloud-service if that
would be easier for the experts. I do also want to note that Strike 3 is willing to also pay the cost
of imaging the hard drive that Mr. Yasumoto examined since copying of this image is considered
an “expert” task.
At this time, none of your experts have filed a motion for protective order. Accordingly, each
expert has violated a lawfully issued subpoena. I have been instructed to move to compel
production of records pursuant to the subpoenas. Please advise of a date and time when we can
hold a telephonic meet and confer conference.
           Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 9 of 70



Thank You.
Lincoln Bandlow


1801 Century Park East, Suite 2400
Los Angeles, CA 90067
P: (310) 556-9680 | F: (310) 861-5550
Lincoln@BandlowLaw.com
www.BandlowLaw.com

From: Curt Edmondson <jcedmondson@edmolaw.com>
Sent: Tuesday, June 4, 2019 2:05 PM
To: Lincoln Bandlow <lincoln@bandlowlaw.com>; Adrienne McEntee <amcentee@terrellmarshall.com>
Cc: jcedmondson_edmolaw com <jcedmondson@edmolaw.com>
Subject: Re: WAWD1003

Lincoln,

One of my experts provided an estimate. He won't work unless he gets paid.                  I do not need documents
from your experts and my depo should not go more than an hour.

If you want the experts to work for free you can move to compel.

Why don't you narrow your doc request

Curt


Sent from my BlackBerry - the most secure mobile device


From: Lincoln Bandlow lincoln@bandlowlaw.com
Subject: RE: WAWD1003
Date: June 4, 2019 at 4:54 PM
To: Curt Edmondson jcedmondson@edmolaw.com, Adrienne McEntee amcentee@terrellmarshall.com
Curt,
We are willing to narrow if needed, but as of right now none of the experts have provided
detailed information about which requests would take up the majority of the supposed
20+ hours. Please provide a date and time to hold a telephonic meet and confer on this
issue.
Lincoln Bandlow
1801 Century Park East, Suite 2400
Los Angeles, CA 90067
P: (310) 556-9680 | F: (310) 861-5550
Lincoln@BandlowLaw.com
www.BandlowLaw.com
           Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 10 of 70



From: J. Curtis Edmondson <jcedmondson@edmolaw.com>
Sent: Wednesday, June 5, 2019 6:35 PM
To: Lincoln Bandlow <lincoln@bandlowlaw.com>; Adrienne McEntee
<amcentee@terrellmarshall.com>; jcedmondson@edmolaw.com
Subject: Toth subpoena response hourly estimate.


Lincoln,

I asked Dr. Toth to break your subpoena records down, request-by-request, and he is at an estimated 59.5 hours
(Attached is his spreadsheet).

If you want to move to compel Dr. Toth, then let me know when you want to meet and confer on this. I am on
vacation next week, but will have my cell phone with me.

I am not sure if you want to reschedule his depo until after we resolve this document issue. Let me know if you do.




B. Regards,

J. Curtis Edmondson, Patent Attorney, P.E.
Edmondson IP Law
Venture Commerce Center
3699 NE John Olsen Ave, Hillsboro OR 97124
ph: (503) 336-3749 | fax: (503) 482-7418
jcedmondson@edmolaw.com | www.edmolaw.com

Licenses:
CA SBN 236105 | WA SBN 43795 | DC BAR NO 998407 | OR SBN 190356
USPTO 57027
CA PE (Electrical) 13377| WA PE (Electrical) 43728


From: J. Curtis Edmondson <jcedmondson@edmolaw.com>
Sent: Friday, June 7, 2019 1:00 PM
To: Lincoln Bandlow <lincoln@bandlowlaw.com>; Bradford Kinsey <bkinsey@terrellmarshall.com>;
Adrienne McEntee <amcentee@terrellmarshall.com>
Subject: Fruits Time Estimate to collect and review documents in response to the subpoena.


Lincoln,

Here is Dr. Fruits time estimate to collect, review, and produce the documents requested by your subpoena on this
expert.


B. Regards,

J. Curtis Edmondson, Patent Attorney, Edmondson IP Law
Venture Commerce Center, 3699 NE John Olsen Ave, Hillsboro OR 97124
ph: (503) 336-3749 | fax: (503) 482-7418 | jcedmondson@edmolaw.com | www.edmolaw.com
Licenses: CA SBN 236105 | WA SBN 43795 | DC BAR NO 998407 | OR SBN 190356 | USPTO 57027 | CA PE 13377
| WA PE 43728
Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 11 of 70




   EXHIBIT B
           Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 12 of 70




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 7                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
 9 STRIKE 3 HOLDINGS, LLC, a Delaware                  Case No.: 2:17-cv-01731-TSZ
   corporation,
10                                                     NOTICE OF INTENT TO SERVE
                     Plaintiff,                        SUBPOENA
11
   vs.
12
   JOHN DOE subscriber assigned IP address
13 73.225.38.130,
14                        Defendant.
15
16
                          NOTICE OF INTENT TO SERVE SUBPOENA
17
            Counter-Defendant, Strike 3 Holdings, LLC, hereby provides notice that it intends to
18
     serve the attached subpoena directed to Economics International Corp.
19
     Dated: May 6, 2019
20                                               LAW OFFICES OF
                                                 LINCOLN BANDLOW, APC
21
                                                 By: /s/ Lincoln Bandlow
22                                               Lincoln D. Bandlow
                                                 1801 Century Park East
23                                               Suite 2400
                                                 Los Angeles, CA 90067
24                                               Telephone: 310-556-9680
                                                 Facsimile: 310-861-5550
25                                               Email: lincoln@bandlowlaw.com
26                                               Attorneys for Plaintiff
27
28
      NOTICE OF INTENT TO SERVE
      (Case No.: 2:17-cv-01731-TSZ)
                                                   1
           Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 13 of 70



                                    CERTIFICATE OF SERVICE
1
2           I hereby certify that on May 6, 2019, a true and correct copy of the foregoing document
     was served via U.S. Mail and/or email to the following.
3
            J. Curtis Edmondson, WSBA #43795
4           399 NE John Olsen Avenue H
            illsboro, Oregon 97124
5           Telephone: (503) 336-3749
            Email: jcedmondson@edmolaw.com
6           Attorney for Defendant

7           Adrienne McEntee, WSBA #34061
            Beth E. Terrell, WSBA #26759
8           TERRELL MARSHALL LAW GROUP PLLC
            936 N 34th Street, Ste. 300
9           Seattle, WA 98103-8869
            Ph: 206-816-6603
10          Fax: 206-350-3528
            Email: amcentee@terrellmarshall.com;
11          bterrell@terrellmarshall.com
            Attorney for Defendant
12
                                                 By:    /s/ Lincoln Bandlow
13                                                      Lincoln Bandlow

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      NOTICE OF INTENT TO SERVE
      (Case No.: 2:17-cv-01731-TSZ)
                                                    2
                    Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 14 of 70
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Western District
                                                       __________        of Washington
                                                                  District  of __________
                    Strike 3 Holdings, LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 2:17-cv-01731
       JOHN DOE, subscriber assigned IP address                               )
                   73.225.38.130                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                 Economics International Corp. c/o Eric Fruits
                                                        4318 NE Royal Ct Portland OR 97213
                                                       (Name of person to whom this subpoena is directed)

    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attachment A



  Place: See instructions to counsel                                                    Date and Time:
                                                                                                             05/30/2019 9:00 am

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        05/06/2019

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Lincoln Bandlow
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Strike 3 Holdings, LLC                                                   , who issues or requests this subpoena, are:
Lincoln Bandlow 1801 Century Park East Ste 2400 Los Angeles, CA 90067; T: 310-556-9680; lincoln@bandlowlaw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                    Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 15 of 70
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:17-cv-01731

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
                     Case 2:17-cv-01731-TSZ Document 140 Filed 06/20/19 Page 16 of 70
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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Attachment to Subpoena to Produce Documents, Information, or Objects or to Permit Inspection
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                                       DEFINITIONS
       A.      “AMENDED EXPERT REPORT” shall refer to Exhibit “A” to this attachment
which is a copy of YOUR amended expert report which YOU signed on April 15, 2019.
       B.      “COMMUNICATION(S)” shall refer to every manner or means of disclosure,
transfer, transmission, or exchange of information, whether orally or by DOCUMENTS and
whether face-to-face, in person, in a group, by telephone, by letter, facsimile, telex or telecopy,
or by any other process, electric, electronic or otherwise, and includes any DOCUMENTS as
defined herein including any medium which abstracts, digests, records, or transcribes any such
communication, or any subsequent review or discussion of such communication.
       C.      “DOCUMENT(S)” shall have the broadest meaning permitted by Rule 34(a) of
the Federal Rules of Civil Procedure, and shall include, without limitation, any tangible record of
intelligence or information, whether handwritten, typed, printed or otherwise visually or orally

reproduced, including information stored on magnetic or optical media or in solid state storage
devices, notes, drafts, reports, films, videotape, drawings, graphs, photographs, illustrations,
agreements, letters, test data, circuit diagrams, software structure charts, software flow charts,
software functional specifications, software code, data flow diagrams, hardware schematic
diagrams, hardware logic diagrams, field maintenance print sets, timing diagrams, technical
summaries, product description documents, software description documents, World Wide Web

internet pages (whether archived or current), laboratory or engineers’ notebooks, project or
progress reports, database information, whether for prototypes or production products, and the
like that are in YOUR possession, custody, or control, or to which YOU otherwise have access.
Any such documents bearing on any sheet (front or back), margins, attachment, or enclosure
thereof, and any mark that is not a part of the original text or reproduction thereof, is to be
considered and produced as a separate document.
       D.      “CONTROL” means in your possession, custody, or control and includes
documents and things in the possession, custody or control of any other person in your place of
business.
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        E.        “FILE” and “FILES” mean the complete file, folder, binder, or other filing
system, and all documents contained therein as of the date of production, and all documents not
physically in the file, folder, binder, or other filing system that are normally kept within the file,
folder, binder, or other filing system in the normal course of business.
        F.        “RELATE(S)” and “RELATING” shall be construed in their broadest sense to
require information, documents, or things which directly or indirectly construe, comprise,
concern, constitute, relate, pertain to, mention, explain, identify, describe, discuss, refer to
(directly or indirectly), reflect, regard, evidence, represent, comment upon, be connected with, or
summarize the subject of the request for documents.
        G.        “STRIKE 3” or “PLAINTIFF” means Strike 3 Holdings, LLC, and all of its
agents, servants, employees, investigators, attorneys, affiliates, subsidiaries, and all other persons
or entities representing either or acting on its behalf.

        H.        “YOU,” and “YOUR” means Economics International Corp., and any of its
directors, officers, employees, and representatives, as well as all other persons acting on its
behalf including Dr. Eric Fruits.
        I.        As used herein, the connectives “and” and “or” shall be construed either
disjunctively or conjunctively so as to acquire the broadest possible meaning.
        J.        As used herein, the terms “any,” “all,” and “each” shall be construed as “any, all,

and each” inclusively.
        K.        As used herein, the use of the singular form of any word shall include the plural
and vice versa.
        L.        Masculine forms of any noun or pronoun shall embrace and be read to include the
feminine or neuter, as the context may make appropriate.
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Attachment to Subpoena to Produce Documents, Information, or Objects or to Permit Inspection
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                                DOCUMENTS REQUESTED

       1.      YOUR complete case file for this ACTION.

       2.      YOUR complete time and billing records for services YOU completed in this

ACTION.

       3.      All expert reports prepared by YOU or at YOUR direction for this ACTION.

       4.      All DOCUMENTS setting forth or describing the nature and scope of YOUR

assignment in this ACTION.

       5.      All COMMUNICATIONS between YOU, on the one hand, and the party or the

attorney for the party who retained, hired or designated YOU as an expert witness in this

ACTION on the other hand, setting forth or describing the nature and scope of YOUR

assignment in this ACTION.

       6.      All DOCUMENTS setting forth or describing any limitation on the nature and

scope of YOUR assignment in this ACTION.

       7.      All COMMUNICATIONS between YOU, on the one hand, and the party or the

attorney for the party who retained, hired or designated YOU as an expert witness in this

ACTION on the other hand, setting forth or describing any limitation on the nature and scope of

YOUR assignment in this ACTION.

       8.      All written retainer, fee agreements, or engagement letters regarding YOUR

assignment in this ACTION.

       9.      All COMMUNICATIONS RELATED to the written retainer, fee agreements, or

engagement letters regarding YOUR assignment in this ACTION between YOU and the party or

the attorney for the party who retained, hired or designated YOU as an expert witness in this

ACTION.
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Attachment to Subpoena to Produce Documents, Information, or Objects or to Permit Inspection
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       10.     All DOCUMENTS upon which YOUR opinions and conclusions in this ACTION

are based.

       11.     All DOCUMENTS prepared by YOU including, but not limited to, scientific,

technical, or professional articles, books, texts, treatises, journals, or similar publications which

have any relevance to the subject(s) to which YOUR testimony relates to YOUR opinions and

conclusions in this ACTION.

       12.     All DOCUMENTS including any scientific, technical, or professional articles,

texts, treatises, journals, or similar publications which YOU read, referred to, considered, or

relied upon in arriving at or forming YOUR opinions and conclusions in this ACTION.

       13.     All DOCUMENTS demonstrating the amount of time YOU personally spent on

this ACTION.

       14.     All DOCUMENTS demonstrating exactly how YOU spent YOUR time in this

ACTION.

       15.     All DOCUMENTS showing the gross compensation and expenses paid to YOU

to date for YOUR services as an expert witness by the party designating YOU as an expert

witness in this ACTION.

       16.     All DOCUMENTS showing the gross compensation and expenses owed to YOU

for YOUR services as an expert witness by the party designating YOU as an expert witness in

this ACTION.

       17.     All DOCUMENTS showing the gross compensation and expenses paid to YOU

for your services in the past four (4) years as an expert witness or expert consultant in all other

cases by the same party or same attorney(s) for the party designating you as an expert witness in

this ACTION.
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       18.     All DOCUMENTS showing the gross compensation and expenses owed to YOU

for your services in the past four (4) years as an expert witness or expert consultant in all other

cases by the same party or same attorney(s) for the party designating you as an expert witness in

this ACTION.

       19.     All DOCUMENTS showing the results of tests, including destructive testing,

conducted by YOU in this ACTION.

       20.     All DOCUMENTS showing or listing the raw data, including test protocols

resulting from any test performed by YOU or at YOUR direction in this case.

       21.     All DOCUMENTS analyzing the raw data resulting from any test or examination

performed by YOU or at YOUR direction in this ACTION.

       22.     All DOCUMENTS setting forth YOUR opinions and conclusions in this

ACTION.

       23.     All DOCUMENTS setting forth the opinions and conclusions YOU will be giving

at trial in this ACTION.

       24.     All DOCUMENTS setting forth the basis(es) for each of the opinions and

conclusions YOU will be giving at trial in this ACTION.

       25.     All DOCUMENTS setting forth the reasons or reasoning for each of the opinions

and conclusions YOU will be giving at trial in this ACTION.

       26.     All COMMUNICATIONS between YOU and the party who designated YOU as

an expert in this ACTION.

       27.     All COMMUNICATIONS between YOU and the attorney(s) for the party who

designated YOU as an expert in this ACTION.
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         28.   All DOCUMENTS evidencing any and all interviews conducted by YOU of any

and all persons who have, or claim to have, personal knowledge of facts which support the

opinions and conclusions YOU will be giving at the trial of this ACTION.

         29.   All notes taken or made by YOU or at YOUR direction regarding this ACTION.

         30.   All DOCUMENTS provided to YOU by or at the direction of the party or the

attorney for the party who retained, hired or designated YOU as an expert witness in this

ACTION.

         31.   All written reports prepared by other expert(s) upon which YOU intend to rely on

in this ACTION.

         32.   All DOCUMENTS showing each assumption YOU made in forming the opinions

and conclusions YOU will be giving at the trial in this ACTION.

         33.   All DOCUMENTS which show any inconsistencies in the opinions and

conclusions YOU will be giving at the trial in this ACTION.

         34.   All sworn testimony by YOU as an expert witness, including affidavits or

declarations, deposition transcripts, or trial transcripts wherein YOU testified in the last four (4)

years.

         35.   All sworn testimony by YOU as an expert witness, including affidavits or

declarations, expert reports, deposition transcripts, or trial transcripts wherein YOU testified on

the same or similar issues in any other action involving allegations of copyright infringement

through the BitTorrent network.

         36.   All expert reports by YOU that YOU are aware were either served on any party or

filed in any action involving allegations of copyright infringement through the BitTorrent

network.
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Attachment to Subpoena to Produce Documents, Information, or Objects or to Permit Inspection
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       37.     All sworn testimony by others, including affidavits or declarations, depositions or

otherwise which were read, reviewed, or relied upon by YOU, regarding or relating to the subject

matter of this ACTION.

       38.     Any and all COMMUNICATIONS between YOU, on the one hand, and the party

or the attorney for the party who retained, hired, or designated YOU as an expert witness in this

ACTION on the other hand, regarding payment arrangement for YOUR expert services rendered

in this ACTION.

       39.     Any and all DOCUMENTS which supports YOUR contention that “[i]t defied

economic reasoning and common sense that Mr. Lanksy would form his business and […] ‘risk

everything’ without a strategy to mitigate the costs or anticipated efforts to infringe on Strike 3’s

works.”

       40.     Any and all DOCUMENTS you relied on or reviewed to set forth YOUR opinion

that “Custos’ service or similar services would [be] more effective and less costly that Strike’s

litigation strategy[,]” as listed on page 7 of YOUR AMENDED EXPERT REPORT.

       41.     Any and all DOCUMENTS you relied on or reviewed to set forth YOUR opinion

that a copyright infringement notice “would provide an infringer the incentive to convert to a

subscriber[,]” as listed on page 9 of YOUR AMENDED EXPERT REPORT.

       42.     Any and all DOCUMENTS you relied on or reviewed to set forth YOUR opinion

that a copyright infringement notice “to subscriber who is not the infringer could result in

proactive actions to prevent infringement, such as changing a wi-fi password[,]” as listed on page

9 of YOUR AMENDED EXPERT REPORT.
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Attachment to Subpoena to Produce Documents, Information, or Objects or to Permit Inspection
               of Premises in a Civil Action on Economics International Corp.
       43.     Any and all DOCUMENTS you relied on or reviewed to set forth YOUR opinion

that sending copyright infringement notices is “more effective than pursuing lawsuits[,]” as

described on page 9 of YOUR AMENDED EXPERT REPORT.

       44.     Any and all DOCUMENTS containing YOUR online search term history you

relied on or reviewed to set forth YOUR opinion that sending copyright infringement notices is

“more effective than pursuing lawsuits[,]” as described on page 9 of YOUR AMENDED

EXPERT REPORT.

       45.     Any and all DOCUMENTS containing legal (case law) research YOU conducted

for this ACTION and in forming YOUR opinions listed in YOUR AMENDED EXPERT

REPORT.
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   Exhibit “A” to Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of
   Premises in a Civil Action on Economics International Corp.




AMENDED EXPERT REPORT OF ERIC FRUITS, PH.D.
IN THE MATTER OF

STRIKE 3 HOLDINGS, LLC
      V.

JOHN DOE, SUBSCRIBER
ASSIGNED IP ADDRESS 73.225.38.130
CASE NO. 2:17-CV-01731-TSZ
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON




Economics International Corp.
503-928-6635
www.econinternational.com
info@econinternational.com
April 15, 2019
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Exhibits
1   Curriculum vitae




                                                                                                                             1
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Summary of conclusions


I have been retained by counsel for Defendant in this matter to provide an
economic opinion regarding damages in this matter.

Plaintiff’s amended complaint alleges that, using BitTorrent, Defendant copied
and distributed 87 works in which Plaintiff is the owner of the copyrights-in-suit
and thereby willfully infringed on Plaintiff’s copyrights. Plaintiff is seeking, inter
alia, statutory damages. The following are my conclusions.

   •   Litigation is not the only way for Plaintiff to stop infringement. If the
       volume of complaints filed by Strike 3 are an indication of actual
       infringement, it seems obvious that the filing of lawsuits is not “effective”
       in deterring infringement.

   •   DMCA notices are one method to discourage infringement. At the time of
       the downloading activity alleged by Plaintiff, Defendant’s Internet service
       provider, Comcast, indicates it had policies to comply with the DMCA,
       including, “a policy to terminate the Service, in appropriate
       circumstances, provided to any customer or user who is a repeat infringer
       of third party copyright rights.”

   •   Plaintiff’s actions in this suit, and others, are consistent with a theory that
       plaintiff is pursuing nuisance value settlements, using the prospect of
       statutory damages and litigation expenses to extract quick settlements of
       low-probability-of-prevailing claims. Strike 3’s strategy in BitTorrent
       litigation appears to satisfy a three-part test for nuisance value litigation.

   •   Additional information from Plaintiff would be useful to more
       comprehensively evaluate Plaintiff’s income from pursuing and settling
       litigation.

The remainder of the report provides the bases for the conclusions summarized
above. n




                                                                                         2
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STRIKE 3 HOLDINGS, LLC V.
JOHN DOE, SUBSCRIBER
ASSIGNED IP ADDRESS 73.225.38.130

ERIC FRUITS, PH.D.



1 Qualifications
I am president and chief economist at Economics International Corp., a
consulting firm that specializes in providing economics services to private and
public sector clients. I am also an adjunct professor at Portland State University,
where I teach courses in economics and real estate. I have a masters’ and a
doctorate degree in economics and a bachelors’ degree in business economics
and public policy. Exhibit 1 is a current curriculum vitae including testimony
and publications.

My graduate-level training included the study of statistics and econometrics (the
application of statistical methods to economics issues). I have taught graduate-
level courses in economics, econometrics, finance, and the economics of
regulation and antitrust. I have published several peer-reviewed papers, each of
which have included statistical and econometric analysis.

I have been engaged in many projects involving financial analysis and business
valuation. I have testified in federal and state courts on business and technology
valuation and financial markets. As an economic damages expert, I have
provided expert testimony regarding business valuation, lost profits, and
foregone income. I have consulted and testified in several matters involving the




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EXPERT REPORT OF ERIC FRUITS, PH.D.                                                      4



valuation of intellectual property, including the valuation of technology, trade
marks, and trade dress. I have provided expert opinions involving statistics,
economics, and finance to United States of America federal and state courts and
to an international criminal tribunal.

I am familiar with BitTorrent litigation. I served as an economics expert in the
case of Malibu Media, LLC v. Doe subscriber assigned IP address 76.126.99.126 in the
Northern District of California. I served as an economics expert in the case of
Clear Skies v. Hancock in the Northern District of Illinois. I served as an economics
expert in the case of QOTD v. Wilson in the Western District of Washington.

Economics International Corp. is compensated at an hourly rate of $350 for my
work on this matter. No part of the compensation is dependent on the outcome
of the matter.


2 Assignment and background

I have been retained by counsel for Defendant in this matter to provide an
economic opinion regarding damages in this matter.

Plaintiff’s amended complaint alleges that, using BitTorrent, Defendant copied
and distributed 87 works in which Plaintiff is the owner of the copyrights-in-suit
and thereby willfully infringed on Plaintiff’s copyrights. Plaintiff is seeking, inter
alia, statutory damages.

Greg Lansky made a declaration under a penalty of perjury at Docket 4-3. Greg
Lansky states he has “…personal knowledge of all matters contained in this
declaration…”. I note that at Docket 70, made a different declaration about his
knowledge. For this purposes of this motion, I will assume Docket 4-2 is accurate
and not contradicted by Docket 70.

Relevant parts of the Lansky Declaration (4-2) state:

      1. “Unfortunately, piracy is a major threat to our company. We can
         compete in the industry, but we cannot compete when our content is
         stolen.” (¶22)

      2. “We have discovered that when we put videos online for paid members
         to view, it takes as little as four minutes to be downloaded on to torrent




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         websites. We have attempted to identify the initial seeder but have
         found it impossible with the large volume of our subscriber base.” (¶23)

      3. “We send on average 50,000 DMCA notices a month but it does
         virtually nothing to stop the rampant copyright infringement.” (¶26)

      4. “The only effective way to stop piracy of our movies on BitTorrent is to
         file lawsuits like this one.” (¶27).

I am not offering any analysis, conclusions, or expert opinions regarding the law.
To the extent this report refers to laws, court decisions, and/or legal opinions, my
analysis is based on an economic evaluation of the information presented.

I have no opinions regarding liability in this matter.

In preparing this report, I have relied on my general expertise and knowledge
regarding economics, finance, and statistics as well as publicly available
information and information provided by Defendant and/or Defendant’s
counsel. The materials relied upon are cited in the text and footnotes to this
report. Any of the information referred to in this report and its exhibits, as well
as summaries or exhibits based on this information, may be used at trial.

I understand that discovery is not complete. I reserve the right to supplement or
modify my report and opinions as new or additional information is presented,
obtained, or reviewed or new or additional analyses are completed, including
analyses provided by Plaintiff or its experts.

This amended report incorporates by reference my declaration in this matter
dated February 25, 2019 (Dckt. 81).


3 Litigation is not the only effective way to stop
  infringement

The Lansky Declaration claims filing lawsuits against individual alleged
downloaders is “the only effective way to stop” infringing downloading of its
copyrighted material.

Strike 3 has filed more than 2,700 complaints in federal court alleging copyright
infringement. Filing fees alone amount to more than $1.1 million.




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Since the date of the Lansky Declaration, Strike 3 has filed more than 2,600
complaints alleging copyright infringement. In the first two months of 2019,
Strike 3 had filed more than 360 complaints. If the volume of complaints filed by
Strike 3 are an indication of actual infringement, it seems obvious that the filing
of lawsuits is not “effective” in deterring infringement.

The Lansky Declaration claims Strike 3 was formed in 2015. Prior to the
formation of Strike 3, Malibu Media, LLC filed nearly 3,300 complaints alleging
copyright infringement similar to the claims Strike 3 is making in this case. Mr.
Lansky claims he was involved in the industry for approximately nine years
before forming Strike 3. His declaration indicates that he was sufficiently familiar
with the industry to conclude, “the industry and I were not offering the best
quality and experience possible.” As someone with nearly a decade of experience
in the industry, it would be reasonable to conclude that Mr. Lanksy was aware of
the highly publicized Malibu Media cases and had an understanding of the
pervasiveness of alleged copyright infringement of pornographic works. It defies
economic reasoning and common sense that Mr. Lansky would form his business
and—as he says in his declaration—“risk everything” without a strategy to
mitigate the costs of anticipated efforts to infringe on Strike 3’s works.

Forensic watermarking of content is a well-known and widely used technique to
identify individuals distributing infringing content and has been available prior
to the formation of Strike 3.1 Trade publication Streaming Media notes: “Forensic
watermarking allows content owners and rights holders to identify pirated
content online, then alert internet service providers, who can then issue a
warning to the infringing user or even shut off the user’s subscription.”2 Using
such a service, Strike 3 can identify which of its subscribers is uploading
infringing content and take immediate action, such as cancelling the uploaders’
subscriptions to Strike 3’s services.



  1  See, for example: Trabelsi, W. and M. H. Selmi. Multi-signature robust video watermarking.
2014 1st International Conference on Advanced Technologies for Signal and Image Processing (ATSIP),
pp. 158-163. 2014.
   2 Krefetz, N. Protecting your assets: How studios secure their premium video. Streaming Media

Magazine. September 28, 2018. https://www.streamingmedia.com/Articles/Editorial/Featured-
Articles/Protecting-Your-Assets-How-Studios-Secure-Their-Premium-Video--127701.aspx,
retrieved February 22, 2019.




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Custos Media Technologies (RF) (Pty) Ltd. provides a service named “Screener
Copy.” The service adds a unique watermark and embeds a Bitcoin bounty to
each video file distributed to users. The watermark and bounty make each copy
identifiable and traceable. “Bounty hunters” on the Internet scan video files for
the hidden Bitcoin bounties and, once found, claim it as a reward. Once the
bounty is claimed, the copyright owner is notified of the leaked copy. Because
the bounty is unique to each copy, the copyright owner can identify the source of
the leak.3 Custos indicates it was designed to serve “smaller movie producers”
and claims of 130,000 copies of material it has distributed, the service has “not
had a single leak.”4 Based on information available at the time of this report, it is
likely that Custos’ service or similar services would more effective and less costly
than Strike 3’s litigation strategy.


4 DMCA notices as a method to discourage
  infringement

The Lansky Declaration states Strike 3 sends an average of 50,000 DMCA notices
a month, but that the notices do “virtually nothing” to stop infringement of its
copyrights.

Citing In re Charter Commc’ns, Subpoena Enforcement Matter, 393 F.3d at 773 (8th
Cir. 2005), the court in BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc. (E.D.
Va., 2016) notes:

        Congress enacted the Digital Millennium Copyright Act
        (“DMCA”), which sought to strike a balance “between the interests
        of ISPs in avoiding liability for infringing use of their services and
        the interest of copyright owners in protecting their intellectual
        property and minimizing online piracy.” In return for a certain


   3 Custos Media Technologies (RF) (Pty) Ltd. Custos Video: A simple one-click solution for

filmmakers and videographers. 2017. https://custostech.com/custos-video/, retrieved February 22,
2019.
   4 Lourie, G. This SA startup is fighting global problem of online piracy using Bitcoin

blockchain. TechFinancials. June 21, 2018. https://techfinancials.co.za/2018/06/21/this-sa-startup-is-
fighting-global-problem-of-online-piracy-using-bitcoin-blockchain/, retrieved February 22, 2019.




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        amount of cooperation, ISPs would enjoy the protection of four
        liability-limiting safe harbors. To be eligible, an ISP must, for
        example, “adopt[] and reasonably implement[], and inform[]
        subscribers and account holders of the service provider’s system or
        network of, a policy that provides for the termination in
        appropriate circumstances of subscribers and account holders of
        the service provider’s system or network who are repeat
        infringers.” [footnotes and citations omitted]

From an economics approach, the idea to “strike a balance” recognizes that the
purpose of copyright enforcement under the DMCA is to discourage
infringement while reducing the costs associated with litigation.

At the time of the downloading activity alleged by Plaintiff, Defendant’s Internet
service provider, Comcast, indicates it had policies to comply with the DMCA:5

        Owners of copyrighted works who believe that their rights under
        U.S. copyright law have been infringed may take advantage of
        certain provisions of the Digital Millennium Copyright Act of 1998
        (the “DMCA”) to report alleged infringements to us. In accordance
        with the DMCA and other applicable laws, Comcast also maintains
        a policy to terminate the Service, in appropriate circumstances,
        provided to any customer or user who is a repeat infringer of third
        party copyright rights.

I understand that Plaintiff has not provided any information demonstrating that
Strike 3 notified Comcast of Defendant’s alleged activity outside of the present
litigation.

Monitoring companies like Rightscorp, Inc. send DMCA notices on behalf of
other media companies to the IP address of alleged infringers. In these notices,
requests are made to pay for the works allegedly infringed. In some cases, the
infringers have paid for the works allegedly infringed. In other cases, the notices
have been associated with a cessation of the alleged infringing activity. In either


  5 Comcast Corporation. Acceptable use policy for XFINITY® Internet. October 11, 2017.
https://web.archive.org/web/20171011050118/www.xfinity.com/Corporate/Customers/Policies/Hi
ghSpeedInternetAUP.html, retrieved February 22, 2019.




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case, if the objective of Strike 3 is to reduce alleged infringement, this approach
would be more beneficial to Strike 3 than filing lawsuits. The notice requesting
payment would provide an infringer the incentive to convert to a subscriber. A
notice to subscriber who is not the infringer could result in proactive actions to
prevent infringement, such as changing a wi-fi password. Since the cost of
sending a DMCA notice is de minimis, and since a DMCA notice can be sent in a
more timely manner than filing a lawsuit, this approach is less costly and more
effective than pursuing lawsuits against, what Plaintiff describes as “the worst”
infringers.

I understand a 30(b)(6) deposition was taken of Strike 3. I have not had an
opportunity to review the deposition transcript. Upon discussion with
Defendant’s counsel, I understand no objective reasons were presented
indicating why DMCA notice cannot be sent to the IP address associated with a
subscriber. Upon review of the transcripts, I intend to supplement my report.


5 Actual and statutory damages

17 USC 504 identifies two remedies for copyright infringement.

   1. Actual damages and profits: a quantifiable monetary loss the plaintiff has
      suffered, or the profit the infringer has gained, from infringing the
      copyrights. I understand Plaintiff has not made a claim that Defendant
      gained a profit from the alleged copyright infringement. A quantifiable
      monetary loss to Plaintiff can be calculated by identifying what Plaintiff
      would have received had it sold or licensed the works.

   2. Statutory damages: an amount in the range of $750 to $30,000 per
      infringed work. In some circumstances, including those in which the
      infringer was not aware and had no reason to believe that his or her acts
      constituted an infringement of copyright, the court may reduce the award
      of statutory damages to $200.

I understand that Plaintiff sought statutory damages and did not specify the
range of statutory damages sought (Complaint, Docket 1).

When this complaint was filed, statutory damages for 80 works was sought.
Then, I understand Plaintiff amended its complaint and sought statutory




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damages for 87 works. Likewise, Plaintiff did not specify the range of statutory
damages sought.

In my experience defendants have been more concerned with the maximum
exposure to damages than the likely exposure to damages. This is likely more
significant in a case such as this, in which the Plaintiff is represented by a large
national law firm having hundreds of attorneys.

For the range of statutory damages specified by 17 USC 504, and assuming
Defendant is liable for infringing on all 87 works, damages would be in the range
of $62,250 and $2,610,000.

In a similar BitTorrent case, the court concludes statutory damages are not
intended to serve as a windfall to plaintiffs:6

        Plaintiff argues that a significantly higher award is necessary to
        force people like Defendants to appear and participate in these
        BitTorrent cases. Plaintiff apparently wants the Court to raise the
        statutory damage award to an amount that is at or above the
        anticipated costs of defending this action. A defendant may,
        however, decide that conceding liability through default is the best
        course of action given the nature of the claims and the available
        defenses. The “punishment” for that choice is the entry of default
        judgment and an award of damages under the governing
        standards. As discussed above, those standards lead to the
        conclusion that the minimum statutory penalty should apply in this
        case. Plaintiff offers no support for the proposition that
        participation in federal litigation should be compelled by imposing
        draconian penalties that are out of proportion to the harm caused
        by Defendants’ actions or any benefits derived therefrom. Statutory
        damages are not intended to serve as a windfall to plaintiffs and
        will not be used to provide such a windfall here.

I reserve the right to supplement or modify my report if Plaintiff or its experts
provide a quantifiable claim for damages.


  CELL Film Holdings, LLC v. Roger Hawkins, Order Granting in Part Cell Film Holdings’
  6

Motions for Default Judgment, Case 2:16-cv-01091-RSL (W.D. Wash, March 14, 2019).




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6 Nuisance lawsuits and sue-then-settle strategies

Plaintiff’s actions in this suit, and others, is consistent with a theory that plaintiff
is pursuing nuisance-value settlements, using the prospect of statutory damages
and litigation expenses to extract quick settlements of low-probability-of-
prevailing claims.

One of the earliest models of a sue-then-settle strategy finds that with low costs
of filing a suit, plaintiffs can gather valuable information about the strength of
their claim from a defendant’s response:7

        A strategy such as [file suit, then go to trial if the defendant offers
        to settle, otherwise drop the action] may not at first seem to make
        much sense. Why does the plaintiff not grab the settlement when it
        is offered? Further reflection reveals that such a strategy may be
        quite appropriate where the defendant has information not avail-
        able to the plaintiff. For instance, it might be that the defendant has
        chosen [to offer to settle if violator, otherwise do not offer to settle].
        For the plaintiff then, the defendant’s offer to settle is an indication
        that the defendant did in fact violate the law, so that the plaintiff
        may prefer to increase his winnings by going to trial. On the other
        hand, the defendant’s refusal to offer to settle may be an indication
        that he did not violate the law, in which case the plaintiff would
        want to cut his losses. …

        Put differently, the plaintiff’s first strategy, (do not sue), is
        dominated by his fifth strategy, [file suit, then go to trial if the
        defendant offers to settle, otherwise drop the action]. We conclude
        that the plaintiff will always bring an action.

        This surprising result is implied by the assumption that the plaintiff
        incurs no legal costs by filing an action and then dropping it. Given
        the assumption, the conclusion is quite intuitive: the plaintiff loses
        nothing from filing suit.


  7 P’ng, I. P. L. (1983). Behavior in suit, settlement, and trial. Bell Journal of Economics, 14(2): 539–
550.




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Another early model of “nuisance suits” concludes that although a defendant
knows that the plaintiff will drop the case if the defendant responds, the
defendant will still be willing to pay a settlement amount of up to the cost of
responding solely in order to avoid having to make such a response. 8

P’ng (1983) applies his sue-then-settle model to what he calls “frivolous suits:”

        To some extent, this result accords with the folklore: a plaintiff
        brings a frivolous action in the hope of extorting a settlement that is
        less than the value of the defendant’s legal costs. The analysis also
        points to another possibility: the defendant may be able to deter
        plaintiffs who have filed actions from bringing these to trial by
        adopting a strategy of refusing to settle, whatever his true type.

The economic rationale for damages is to make the Plaintiff “whole” and/or to
deny the liable party of the profits of from the wrongful act. Concepts of the
efficient allocation of resources conclude that laws, institutions, or arrangements
that provide a windfall profit to plaintiffs would result in a misallocation of
resources. Legal scholars have implicitly incorporated the economic approach in
their attempts to define a copyright “troll:”9

        A copyright troll is a plaintiff who seeks damages for infringement
        upon a copyright it owns, not to be made whole, but rather as a
        primary or supplemental revenue stream.

The following attempt to define “trolling” recognizes the process of searching or
prowling for potential revenues from litigation:10

        The essence of trolling is that the plaintiff is more focused on the
        business of litigation than on selling a product or service or
        licensing their IP to third parties to sell a product or a service. The
        paradigmatic troll plays a numbers game in which it targets
        hundreds or thousands of defendants, seeking quick settlements


  8  Rosenberg, D. and S. Shavell (1985). A model in which suits are brought for their nuisance
value. International Review of Law and Economics. 5(1): 3–13.
   9 DeBriyn, J. (2012). Shedding light on copyright trolls: An analysis of mass copyright litigation

in the age of statutory damages. UCLA Entertainment Law Review, 19(1): 79–112.
   10 Sag, M. (2015). Copyright trolling: An empirical study. Iowa Law Review, 100(3): 1105–1147.




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       priced just low enough that it is less expensive for the defendant to
       pay the troll rather than defend the claim.

Greenberg (2015) identifies the role statutory damages may play in the
misallocation of resources for a copyright owner who “uses the prospect of
statutory damages and litigation expenses to extract quick settlements of often
weak claims.”11

Commenting on the doctrine of copyright misuse, Judge Posner noted the
following: “hoping to force a settlement or even achieve an outright victory over
an opponent that may lack the resources or the legal sophistication to resist
effectively, is an abuse of process.”12

Consistent with Posner’s observation regarding opponents with a “lack of
resources,” AIPLA (2011) reports the median cost of litigating copyright
infringement through the end of discovery in the West is $150,000.13

Sudarshan (2008) proposes a three-part test to identify nuisance value patent
litigation, which could be applied to copyright suits (citations omitted):14

       This Article relies on nuisance-value patent litigation having three
       specific and necessary definitional conditions.

           1. First, the patent holder offers a settlement (or license) figure
              which is significantly less than the cost of defending the suit
              through the discovery phase of a trial.

           2. Second, this settlement amount does not correspond to
              traditional measures of patent damages, i.e., reasonable
              royalty or lost profits.




  11 Greenberg, B. A. (2015). Copyright trolls and common law. Iowa Law Review Bulletin,

vol. 100:77–86.
  12 Assessment Techs. of WI, LLC v. Wire Data, Inc., 350 F.3d 640 (2003).

  13 American Intellectual Property Law Association (2011). Report of the Economic Survey.

  14 Sudarshan, R. (2008). Nuisance-value patent suits: An economic model and proposal, Santa

Clara High Technology Law Journal, 25(1):159-189.




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              3. Third, the plaintiff seeks to avoid litigation because of a
                 sufficiently high probability that the asserted claims are a)
                 invalid, or b) not infringed by the defendant's products.

          This definition recognizes that a suit is not necessarily a nuisance
          suit just because the offered settlement amount is less than the cost
          of defense. For example, the second prong of the definition
          excludes situations where a defendant's infringement may have
          been so minor that a license would have been worth less than the
          cost of asserting the patent in litigation. Similarly, the third prong
          of the definition leaves out scenarios where a plaintiff’s validity
          and infringement contentions are meritorious, but a steep discount
          may have been given to the defendant for any number of reasons.

Based on information available at the time of this report, Strike 3’s strategy in
BitTorrent litigation appears to satisfy Sudarshan’s (2008) three-part test for
nuisance value litigation.

Sag (2015) suggests that sue-then-settle actions are consistent with a theory that
plaintiffs are pursuing nuisance value settlements:15

          After obtaining the names and addresses of account holders
          suspected of participating in a BitTorrent swarm, the plaintiff can
          get to work negotiating settlements. An account holder accused of
          infringement is almost invariably threatened with statutory
          damages and the prospect of paying the plaintiff’s attorney’s fees if
          he is unable to establish his innocence. Reports indicate that
          settlements are usually in the range of $2000 to $4000. That is a lot
          to pay for a movie, but only a fraction of the potential statutory
          damages for willful copyright infringement, which can be as high
          as $150,000 per work infringed. The $4000 figure is also evidently
          “a sum calculated to be just below the cost of a bare-bones
          defense.” This does not prove that the plaintiffs are simply
          pursuing nuisance-value settlements, but it is consistent with that
          theory.


  15   Sag, M. (2015). Copyright trolling: An empirical study. Iowa Law Review, 100(3): 1105–1147.




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Consistent with Sag’s (2015) observations, I understand Strike 3 has accepted
offers of judgment of $3,250, inclusive of damages, costs, and attorney fees.

        1. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
           76.172.87.57 (S.D.Cal.) 3:17-cv-02317-JAH-BLM.

        2. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
           76.247.176.87 (N.D.Cal.) 5:17-cv-07058-EJD.

In a similar Strike 3 matter, the court concluded, “Strike 3 is a copyright troll,”
and invoked much of the economic logic discussed above:16

         Little wonder so many defendants settle. Indeed, the copyright
         troll's success rate comes not from the Copyright Act, but from the
         law of large numbers. According to PACER, over the past thirteen
         months, Strike 3 has filed 1849 cases just like this one in courts
         across the country—forty in this district alone—closely following
         the copyright trolls who together consumed 58% of the federal
         copyright docket in 2015. These serial litigants drop cases at the
         first sign of resistance, preying on low-hanging fruit and staying
         one step ahead of any coordinated defense. They don't seem to care
         about whether defendant actually did the infringing, or about
         developing the law. If a Billy Goat Gruff moves to confront a
         copyright troll in court, the troll cuts and runs back under its
         bridge. Perhaps the trolls fear a court disrupting their rinse-wash-
         and-repeat approach: file a deluge of complaints; ask the court to
         compel disclosure of the account holders; settle as many claims as
         possible; abandon the rest. [citations omitted]

Consistent with Judge Lamberth’s “Billy Goat Gruff” observation, I understand
Strike 3 has dismissed all cases being heard by Judge Zilly. I also understand that
in the face of risking $250 in sanctions for missing deadlines in the Eastern
District of California, Strike 3 has terminated 24 cases. This seems to support
Judge Lamberth’s “cut and run” observation.



  16Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 73.180.154.14. Memorandum
Opinion. Civil Action #1:18-cv-01425-RCL (D.D.C). November 16, 2018.




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   1. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 73.2.97.225,
      1:18-cv-01075-MCE-CKD

   2. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 24.7.149.73,
      1:18-cv-01076-MCE-CKD

   3. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 73.151.0.97,
      1:18-cv-01080-MCE-CKD

   4. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
      73.220.162.116, 1:18-cv-01089-MCE-CKD

   5. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 73.151.0.180,
      1:18-cv-01304-MCE-CKD

   6. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
      67.160.250.96, 2:18-cv-02640-MCE-CKD

   7. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
      73.70.116.109, 2:18-cv-02641-MCE-CKD

   8. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 73.71.165.41,
      2:18-cv-02642-MCE-CKD

   9. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
      98.208.93.240, 2:18-cv-02643-MCE-CKD

   10. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
       108.245.210.201, 2:18-cv-02584-MCE-CKD

   11. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
       162.237.197.54, 2:18-cv-02585-MCE-CKD

   12. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
       98.238.245.116, 2:18-cv-02636-MCE-CKD

   13. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 24.10.96.207,
       2:18-cv-02638-MCE-CKD

   14. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
       71.193.15.139, 2:18-cv-02639-MCE-CKD

   15. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
       73.41.142.236, 2:18-cv-02206-MCE-CKD



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   16. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 73.41.243.20,
       2:18-cv-02207-MCE-CKD

   17. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 73.41.91.169,
       2:18-cv-02208-MCE-CKD

   18. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 73.90.99.129,
       2:18-cv-02209-MCE-CKD

   19. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
       108.197.138.209, 2:18-cv-02582-MCE-CKD

   20. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 24.7.176.79,
       2:18-cv-02201-MCE-CKD

   21. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
       67.164.218.16, 2:18-cv-02202-MCE-CKD

   22. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 67.169.98.18,
       2:18-cv-02203-MCE-CKD

   23. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
       73.151.99.229, 2:18-cv-02204-MCE-CKD

   24. Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
       73.192.163.54, 2:18-cv-02205-MCE-CKD


7 Plaintiff’s revenues from settling litigation
Plaintiff has not provided financial information for Strike 3 in this matter. Upon
provision of such information, I reserve the right to supplement or modify my
report to evaluate revenues and/or income Plaintiff receives from pursuing its
litigation strategy in BitTorrent matters. The following information would be
useful to more comprehensively evaluate Plaintiff’s income from pursuing and
settling litigation:

   1. Information similar to that submitted to the court in Malibu Media, LLC v.
      John Doe subscriber assigned IP address 24.148.79.226, Plaintiff’s Status and
      Informational Report for Its Cases in the Northern District of Illinois, Civil
      Action No. 1:14-cv-00693 (N.D. Ill. Apr. 6, 2014). The submission provides




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      information regarding 268 cases filed by Malibu Media and included the
      following information:

          a. Number of cases filed,

          b. Number of cases with joined defendants and number of cases
             against a single defendant;

          c. Investigation costs associated with each case including, but not
             limited to the purchase and investigation of PCAP files;

          d. Status of each of the cases, such as:

                 i. Dismissed—Hardship

                ii. Dismissed—Insufficient Evidence

                iii. Dismissed—No Discovery

                iv. Dismissed—Settled (including settlement amount)

                v. Judgment Entered (including judgment amount)

                vi. Litigation

               vii. Negotiating

              viii. Pre-Discovery

                ix. Pre-Litigation

   2. Number of monthly and/or annual subscriptions to Strike 3’s Blacked,
      Tushy, and Vixen adult websites; monthly and/or annual subscription
      revenue; processing charges associated with subscriptions.

   3. Number of monthly and/or annual unit sales of and revenues from DVDs
      sold by Strike 3.

   4. Monthly and/or annual expenditures associated with serving DMCA
      notices.

I understand depositions were taken—and continue to be taken—in this matter. I
have not had an opportunity to review the deposition transcripts. Lacking any
financial details from Strike 3, and based on Defendant’s counsel’s observations




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from deposition testimony, I estimate the following allocation of revenues, costs,
and profits from Plaintiff’s litigation strategy to date.

             Revenues from settlements                                  $7,000,000

             Expenses
             Filing fees: 2,980 complaints @ $400 per complaint          1,192,000
             Additional court fees @100 per complaint                      298,000

             Inside counsel: 2 attorneys at $250,000 per year              777,000
             IPP services @$85,000 a month                               1,584,000

             Unallocated costs, including outside counsel                1,249,000

             Net revenues from settlements                              $1,900,000

Revenues from settlements, IPP services, and net revenues from settlements are from
Defendant’s counsel’s observations of deposition testimony. Number of
complaints are from Lex Machina. Additional court fees and inside counsel costs are
my estimates.

Without Plaintiff’s financial information, there are approximately $1.25 million in
unallocated costs and/or outside counsel fees associated with Plaintiff’s litigation
strategy to date.


8         Damages
My understanding is that Defendant has filed two counterclaims, one for
declaratory relief of non-infringement and another for abuse of process. Further,
my understanding is that Washington state law entitles a party claiming abuse of
process to claim damages.17

I understand a part of the damage element is the harm incurred by the
individual, including attorney’s fees and costs. It is also my understanding that
attorney’s fees in the Ninth Circuit is determined by “Lodestar.”



    17   Hough v. Stockbridge. 152 Wash. App. 328 (2009)




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At this time, I understand that damages will be incurred as the case proceeds.
These damage are likely to take the form of attorney’s fees, expert fees, and
actual harm to the Defendant separate from attorney’s fees and costs.

The harm suffered by Defendant would be legal fees, which are ongoing until
termination of this matter. At that time, I am prepared to give an opinion
regarding the reasonableness of these fees. AIPLA (2011) reports the median cost
of litigating copyright infringement through the end of discovery in the West is
$150,000, with 50 percent of cases in the range of $100,000 to $250,000.18

The U.S. Supreme Court concluded, “a successful defense of a copyright
infringement action may further the policies of the Copyright Act every bit as
much as a successful prosecution of an infringement claim by the holder of a
copyright.”19 Economically speaking, an award of attorney’s fees that encourages
the defense of potential nuisance suits may further the policies of the Copyright
Act by discouraging the filing of a suits that plaintiffs and plaintiffs’ attorneys
know to be nuisance suits.


9         Conclusion
Litigation is not the only way for Plaintiff to stop infringement. If the volume of
complaints filed by Strike 3 are an indication of actual infringement, it seems
obvious that the filing of lawsuits is not “effective” in deterring infringement.

DMCA notices are one well known and widely used method to discourage
infringement. At the time of the downloading activity alleged by Plaintiff,
Defendant’s Internet service provider, Comcast, indicates it had policies to
comply with the DMCA, including, “a policy to terminate the Service, in
appropriate circumstances, provided to any customer or user who is a repeat
infringer of third party copyright rights.”

Plaintiff’s actions in this suit, and others, are consistent with a theory that
plaintiff is pursuing nuisance value settlements, using the prospect of statutory
damages and litigation expenses to extract quick settlements of low-probability-


    18   American Intellectual Property Law Association (2011). Report of the Economic Survey.
    19   Fogerty v. Fantasy, 510 U.S. 517 (1994).




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of-prevailing claims. Strike 3’s strategy in BitTorrent litigation appears to satisfy
a three-part test for nuisance value litigation. n




                                              Respectfully submitted by




Dated: April 15, 2019                         _______________________________________
                                              Eric Fruits, Ph.D.




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Eric Fruits, Ph.D.
                                                                                       Tel: 503-928-6635
                                                                             www.econinternational.com
                                                                            fruits@econinternational.com

Dr. Eric Fruits is an economics expert, finance expert, and statistics expert.
He has produced numerous research studies involving economic analysis,
financial modeling, and statistical analysis. As an expert witness, he has
provided expert testimony in state courts, federal courts, and an international
court.
    As an economic damages expert, Dr. Fruits has provided expert testimony
regarding business valuation, lost profits, and foregone income. He has been
a testifying expert in cases involving real estate valuation, health care services,
and transportation and shipping services. His research on the formation of
cartels was published in the top-tier Journal of Law & Economics. His study
of the impact of natural gas pipeline on residential property values has been
published in the Journal of Real Estate Research, one of the premier academic journals in the field.
He has provided expert testimony to state courts and federal courts.
    As a finance expert, Dr. Fruits has been a testifying expert and provided expert consulting
services in cases alleging insider trading and market manipulation. He is a securities expert who
has conducted numerous research studies on financial issues, including initial public offerings and
municipal bonds.
    As a statistical expert, Dr. Fruits has provided expert testimony regarding real estate trans-
actions, profit projections, agricultural commodities, and war crimes allegations. His expert
testimony has been submitted to state courts, federal courts, and an international court.
    He has written peer-reviewed articles on real estate markets, initial public offerings (IPOs), the
municipal bond market, and the formation and operation of cartels.
    Dr. Fruits has been affiliated with Portland State University, Pacific Northwest College of Art,
University of Southern California, Indiana University, and the Claremont Colleges. He has been
an economic consultant with Nathan Associates, LECG, ECONorthwest, and Econ One Research.


Present Positions & Affiliations
 Economics International Corp.                                                          2006–present
     President and Chief Economist

 Cascade Policy Institute                                                               2019–present
     Vice President of Research

 International Center for Law & Economics                                               2017–present
      Chief Economist

 Portland State University                                                      2002–present
     Adjunct Professor in Economics, Business Administration, and Urban Studies & Planning
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Eric Fruits, Ph.D.                                                                       2



Previous Professional Experience
 Portland State University                                                       2010–2019
     Oregon Association of Realtors Faculty Fellow
     Center for Real Estate Quarterly Report, Editor

 Nathan Associates Inc.                                                          2012–2018
     Principal Consultant

 Info Tech, Inc.                                                                 2015–2018
      Expert Consultant

 Pacific Northwest College of Art                                                2009–2010
      Adjunct Professor

 ECONorthwest                                                                    2002–2008
    Senior Economist

 LECG, LLC                                                                       1999–2002
    Senior Economist

 Claremont Graduate University                                                   1996–2002
     Adjunct Professor of Economics and Visiting Scholar

 Econ One Research, Inc.                                                         1998–1999
     Economist

 University of Southern California, Marshall School of Business                  1997–1998
     Visiting Assistant Professor of Finance & Business Economics

 Indiana University, Kelley School of Business                                        1997
     Visiting Assistant Professor of Business Economics & Public Policy

 Scripps College                                                                      1996
      Adjunct Professor of Economics

 Pomona College                                                                       1994
    Lecturer in Economics

 Andersen Consulting                                                             1990–1991
    Staff Consultant


Education
 Ph.D., Economics, Claremont Graduate University                                      1997

 M.A., Economics, Claremont Graduate University                                       1993

 B.S. with Distinction, Business Economics & Public Policy, Indiana University        1990
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Eric Fruits, Ph.D.                                                                                  3



Publications, Reports, and Other Papers
Academic Publications
 Perceived environmental risk, media, and residential sales prices. Journal of Real Estate Research,
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 Compact development and greenhouse gas emissions: A review of recent research. Center for
    Real Estate Quarterly Journal, 5(1):2–7. Winter 2011.

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 Fiscal Impacts of an Oregon Tax Credit Scholarship Program. Cascade Policy Institute. 2011.

 The Oregon Health Plan: A “Bold Experiment” that Failed. Cascade Policy Institute. 2010.
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Eric Fruits, Ph.D.                                                                                   4


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      R. J. Pozdena. 2009.

 Future Management of the Elliott State Forest: Providing Adequate Returns for Oregons Schools. Cascade
     Policy Institute. 2009.

 Fiscal Impacts of Proposed Educational Tax Credits. Cascade Policy Institute. 2009.

 Impact of Minimum Wage Indexing on Employment and Wages: Evidence from Oregon and Washington.
     Employment Policies Institute. 2009.

 The Relationship Between Residential Development and Greenhouse Gas Emissions. National Associa-
     tion of Homebuilders. 2008.

 Oregon Greenhouse Gas Reduction Policies: The Economic and Fiscal Impact Challenges. Cascade Policy
     Institute, with R. J. Pozdena. 2008.

 The Ranking of Oregon State and Local Spending. Cascade Policy Institute, with R. J. Pozdena. 2008.

 Damages: Experts, liability, and calculations. In The Employment Case: From Discovery to Decision.
    Oregon State Bar CLE Seminars. 2004.

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 What ever happened to Pendleton Grain Growers? Pay attention to your co-op. Oregon Family
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 80% of Oregon marijuana exported? Oregon Family Farmer. Fall 2018.

 Taxing e-cigarettes may do more harm than good. Oregonian. November 29, 2018.

 Policy reforms would improve state for all. Portland Tribune. December 14, 2017. Also published
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 Health care tax would hurt middle class. Portland Tribune. September 21, 2017.

 State can balance budget without taxes. Portland Tribune. February 23, 2017.

 Oregon leaders must reject Medicaid expansion. Oregonian. January 27, 2017.

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Eric Fruits, Ph.D.                                                                               5


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     2015.

 Oregon chemical bill is bad news for businesses. Oregonian. April 11, 2015.

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 Water and sewer charges: Basic services before pet projects. Oregonian. May 21, 2010.

 PERS disaster will cost taxpayers. Statesman Journal. November 8, 2009.

 Health care: Congress can learn from the costly mistakes of the states. Oregonian. September 1,
     2009.

 Behind Oregon’s jobless rate. Oregon Business. February 2009.

 The high costs of climate change policies. Oregonian. January 24, 2009.

 Facing the challenge of a revenue shortfall. Oregonian. November 19, 2008.

 The youngest boomers trail behind. Oregon Business. September 2008.

 Slow the growth to cut the carbon. Oregon Business. April 2008.

 Do we really have a health-care crisis? Oregon Business. January 2008.

 Economic forecast: Will 2008 bring economic salvation? Oregon Business Powerbook 2008. 2007.

 The pixie dust of streetcars. Oregon Business. October 2007.

 Pay me what I’m worth, or else. Oregon Business. July 2007.

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Committee and Other Service
 Peer reviewer and academic adviser for textbooks and academic journals:

       A. O’Sullivan. Urban Economics, 9th ed. McGraw-Hill/Irwin. In print.
       Taking Sides: Clashing Views in Urban Studies. M. A. Levine, editor. McGraw Hill. 2012.
       W. B. Brueggeman and J. D. Fisher. Real Estate Finance and Investments, 14th ed. McGraw-
          Hill/Irwin. 2011.
       Municipal Finance Journal
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Eric Fruits, Ph.D.                                                                                   6


       Land Economics

 Taxpayer Association of Oregon. Board Member, 2014–present.

 City Club of Portland. Research Board Member, 2015–2017.

 State of Oregon. Explanatory Statement Committee member. Ballot Title 86: Amends Con-
      stitution: Requires creation of fund for Oregonians pursuing post-secondary education,
      authorizes state indebtedness to finance fund. 2014.

 Laurelhurst Neighborhood Association. City of Portland, Oregon. Past President and Board
     Member, 2014–2015. President, 2009–2014.

 City of Portland. Mayor’s Economic Cabinet. 2008–2012.

 State of Oregon Department of Environmental Quality. Fiscal Advisory Committee for the
      Proposed Adoption of Air Quality Improvements at the PGE Boardman Power Plant. 2008.

 State of Oregon Department of Environmental Quality. Fiscal Advisory Committee for the
      Proposed Adoption of the Utility Mercury Rule and Other Federal Air Quality Regulations.
      2006.

 City of Portland. Mayor’s Ad Hoc Work Group on Regulatory Reform. 2002.


Testimony in Legal Proceedings
 Julie Veysey v. Israel Cervante Meraz and Henry Nicholas Veysey. Circuit Court for the State of Oregon
       for the County of Marion. Case No. 17CV52030. Trial testimony October 3, 2018.

 Katrina L. Pinkerton v. Wells Fargo Bank, N.A. United States Bankruptcy Court for the District
      of Oregon. Case No. 17-33794-tmb13. Adv. Proc. No. 18-03016-tmb. Prove-up hearing
      testimony June 20, 2018.

 Estate of Jamey Charlotte Haines v. State of Oregon Department of Transportation. Circuit Court for
      the State of Oregon for the County of Washington. Case No. 17CV17952. Trial testimony
      February 6, 2018.

 Rosebank Road Medical Services Ltd. dba Rosebank Road Medical Centre, and Geeta Murali Ganesh v.
     Ramji Govindarajan and John Does 2–20. Superior Court of California, County of San Francisco,
     Unlimited Civil. Case No. CGC-16-549755. Deposition testimony September 27, 2017. Trial
     testimony December 13–14, 2017.

 United States of America ex rel. Duke Tran v. Wells Fargo Bank, N.A. United States District Court
     for the District of Oregon, Portland Division. Case No. 3:15-cv-979. Deposition testimony
     October 3, 2017.

 Nubia Rodriguez v. The State of Oregon, Department of Human Services and Antoinette Hughes. Circuit
     Court for the State of Oregon for the County of Multnomah. Case No. 16CV09393. Trial
     testimony September 13, 2017.

 Madison-Rae Jordan v. United States of America. United States District Court for the Southern District
    of California. Case No. 3:15-cv-01199-BEN-NLS. Deposition testimony January 25, 2017.
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Eric Fruits, Ph.D.                                                                                         7


 Marie M. Pearson v. Waste Management of Oregon, Inc. and James Walker. Circuit Court for the State
     of Oregon for the County of Multnomah. Case No. 15CV18258. Trial testimony August 23,
     2016.

 Investors Asset Acquisition, et al. v. Angelo S. Scardina, et al. Circuit Court of the 15th Judicial Circuit
      in and for Palm Beach County, Florida. Case No. 502014CA004618XXXXMB AD. Deposition
      testimony August 5, 2016.

 James Busey vs. Richland School District, Richard Jansons, Heather Cleary, Mary Guay, Rick Donahoe,
     and Phyllis Strickler. United States District Court for the Eastern District of Washington. Case
     No. CV-12-5022-EFS. Deposition testimony February 25, 2016.

 Kivin Varghese v. Amazon.com, Inc. and Amazon Technologies, Inc. Superior Court for the State of
     Washington in and for the County of King. No. 12-2-39303-6 SEA. Deposition testimony
     September 22, 2014.

 LMG Concerts, LLC v. Salem Communications Corporation, Salem Media of Oregon, Inc., Caron Broad-
    casting, Inc., Does 1 through 5. U.S. District Court for the District of Oregon. Case No.
    3:12-CV-1117. Deposition testimony September 18, 2013.

 Claude Hadley v. Extreme Technologies, Inc. Circuit Court for the State of Oregon for Lane County.
     Case No. 16-11-03225. Trial testimony March 14, 2012.

 David Hill Development, LLC, v. City of Forest Grove, Steve A. Wood, and Robert A. Foster. U.S. District
     Court for the District of Oregon. Civ. No. 08-266-AC. Deposition testimony December 10,
     2010. Trial testimony September 20, 2011.

 Gordon Ogawa v. Malheur Home Telephone Company dba Malheur Bell and Qwest Corporation. U.S.
     District Court for the District of Oregon. No. CV 08-694-MO. Trial testimony September 9,
     2010.

 Dave Molony and Gold Leaf Investments, Inc. v. Crook County. U.S. District Court for the District of
     Oregon. No. 3:05-CV-1467-MO. Trial testimony May 27, 2009.

 Starr-Wood Cardiac Group of Portland, P.C., Dr. H. Storm Floten, and Dr. Anthony Furnary v. Dr. Jeffrey
      S. Swanson, Dr. Hugh L. Gately, and Cardiothoracic Surgeons LLC. Circuit Court for the State of
      Oregon for the County of Multnomah, No. 0706-06308. Trial testimony September 5, 2008.

 Milutinovic et al. International Criminal Tribunal for the former Yugoslavia, No. IT-05-87 PT. Trial
     testimony April 23–24, 2008.

 In re: The Marriage of Virginia Salvadori and Gabriel Salvadori. State of Washington Clark County
      Superior Court, No. 06-3-00692-2. Trial testimony April 14, 2008.

 Pamela L. Bond, Individually and as Personal Representative of the Estate of Craig R. Bond, Deceased v.
    United State of America. U.S. District Court for the District of Oregon. No. 06-1652-JO. Trial
    testimony February 6, 2008.

 Erik E. Tolleshaug v. Shaver Transportation Co. Circuit Court for the State of Oregon for the County
      of Multnomah, No. 060809122. Trial testimony December 14, 2007.

 In re: The Marriage of Denise M. Kunze and Gust F. Kunze. State of Washington Clark County
      Superior Court, No. 05-3-00801-3. Trial testimony October 29, 2007.
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Eric Fruits, Ph.D.                                                                                    8


 Securities and Exchange Commission v. Philip Evans and Paul Evans. U.S. District Court for the District
     of Oregon. No. CV 05-1162-PK. Deposition testimony February 27, 2007. Trial testimony
     March 8, 2007.

 Randall D. Lam v. Kaiser Foundation Hospitals; Northwest Permanente, P.C.; Kaiser Foundation Health
     Plan of the Northwest; Robert James Shneidman, M.D.; and David Lee Brown, Jr., P.A. Circuit
     Court for the State of Oregon for the County of Multnomah. No. 020706633. Trial testimony
     November 9, 2006.

 Vitascan Partners I and Vitascan Partners II v. G.E. Healthcare Financial Services and GE/Imatron.
      Superior Court for the State of California. No. 01129909. Trial testimony July 24, 2006.

 Squaxin Island Tribe, Island Enterprises, Inc., Swinomish Indian Tribal Community, and Swinomish
     Development Authority v. Fred Stephens, Director, Washington State Department of Licensing. U.S.
     District Court for Western District of Washington. No. C033951Z. Deposition testimony June
     15, 2005.

 Androutsakos v. M/V PSARA, PSARA Shipping Corporation, and Chevron U.S.A., Inc. United States
     District Court for the District of Oregon. No. 02CV1173KI. Trial testimony May 21, 2004.

 In re: Consolidated PERS Litigation. Supreme Court for the State of Oregon. Nos. S50593, S50532,
      S50656, S50657, S50645, S50685, S50687, and S50686. Trial testimony February 27, 2004.

 CollegeNET, Inc., v. ApplyYourself, Inc. United States District Court for the District of Oregon. Nos.
      02CV484HU and 02CV1359HU. Daubert hearing May 9, 2003.


Grants and Awards
 City of Portland Spirit of Portland Award, nominee                                                2010

 City of Portland Livability Volunteer Award                                                       2010

 Institute for Humane Studies Research Grant                                                       1996

 John Randolph Haynes and Dora Haynes Foundation Grant                                             1995

 Lynde and Harry Bradley Foundation Grant                                                    1992–1995

 Lionel Edie Award                                                                                 1990


Courses Taught
 Microeconomics

 Industrial Organization

 Economics of Regulation and Antitrust

 Urban Economics

 Managerial Economics

 Econometrics
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Eric Fruits, Ph.D.                                                             9


 Real Estate Finance and Investment

 State and Local Public Finance

 Economics and the Creative Industries

 War Crimes




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   EXHIBIT C
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Eric Fruits, Ph.D.: Estimate of time and expense
Notice of intent to serve subpoena

Item # Summary                                                          Notes                                                           Minutes
   0.                                                                   Time to prepare this estimate                                        75
   1.   Complete case file                                              Compile and organize requested information                          120
   2.   Complete time and billing records                               Review case archive                                                  15
   3.   All expert reports                                              Already submitted                                                     5
   4.   Nature and scope of assignment                                  Review case archive                                                  10
   5.   Communications with party and attorney re: nature and scope     Review case archive                                                  10
   6.   Limitations on scope and nature of assignment                   Review case archive                                                  10
   7.   Communications with party and attorney re: limitations          Review case archive                                                  10
   8.   Engagement letters, etc.                                        Review case archive                                                  10
   9.   Communications re: engagement letters, etc.                     Review case archive                                                  10
  10.   Documents supporting opinions                                   Review case archive                                                  45
  11.   Publications                                                    Not applicable                                                        0
  12.   Documents read or relied upon                                   Review case archive                                                  30
  13.   Documents demonstrating time spent                              Review case archive                                                  15
  14.   Documents demonstrating how time spent                          Review case archive                                                  15
  15.   Gross compensation and expenses paid                            Review case archive                                                  15
  16.   Gross compensation and expenses owed                            Review case archive                                                  15
  17.   Gross compensation and expenses paid in past 4 years            Review case archive; may be subject to privilege, protective         30
                                                                        order, confidentiality agreement
  18. Gross compensation and expenses owed in past 4 years              Review case archive; may be subject to privilege, protective         30
                                                                        order, confidentiality agreement
  19.   Test results                                                    Review case archive                                                  10
  20.   Raw data and test protocols                                     Review case archive                                                  10
  21.   Raw data analysis                                               Review case archive                                                  10
  22.   Documents setting forth opinions and conclusions                Review case archive                                                  10
  23.   Documents setting forth opinions and conclusions to be given at Review case archive                                                  10
        trial
  24.   Documents setting forth bases for opinions and conclusions to   Review case archive                                                  10
        be given at trial
  25.   Documents setting forth reasoning for opinions and conclusions Review case archive                                                   10
        to be given at trial
  26.   Communications with party who designated me as expert           Not applicable                                                        0
  27.   Communications with attorney who designated me as expert        Review case archive; may be subject to privilege, protective         10
                                                                        order, confidentiality agreement
  28.   Documents of interviews                                         Not applicable                                                        0
  29.   Notes taken by me                                               Review case archive                                                  10
  30.   Documents provided by attorney or party                         Review case archive                                                  15
  31.   Reports prepared by other experts                               Not applicable                                                        0
  32.   Documents showing assumptions                                   Not applicable                                                        0
  33.   Documents showing inconsistencies                               Not applicable                                                        0
  34.   Sworn testimony in last 4 years                                 Review case archive                                                  60
  35.   Expert reports and testimony re: BitTorrent in last 4 years     Review case archive                                                  60
  36.   Expert reports served on any party                              Unknown                                                               0
  37.   Sworn testimony by others                                       Review case archive                                                  10
  38.   Communications regarding payment arrangements                   Review case archive                                                  10
  39.   Documents supporting specific statement in report               Review case archive                                                  10
  40.   Documents supporting specific statement in report               Review case archive                                                  10
  41.   Documents supporting specific statement in report               Review case archive                                                  10
  42.   Documents supporting specific statement in report               Review case archive                                                  10
  43.   Documents supporting specific statement in report               Review case archive                                                  10
  44.   Online search term history re: item 43                          Review case archive                                                  10
  45.   Case law research                                               Review case archive                                                  10

                                                                        Estimated total minutes                                             785

                                                                        Estimated total hous                                              13.08
                                                                        Estimated cost at $350/hour                                    $4,579.17
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   EXHIBIT D
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lincoln@bandlowlaw.com




June 11, 2019

VIA EMAIL: jcedmondson@edmolaw.com

J. Curtis Edmondson
Edmondson IP Law
Venture Commerce Center
3699 NE John Olsen Avenue
Hillsboro, OR 97124

RE:     WAND1003 Strike 3 v. Doe – Mr. Fruits

Dear Mr. Edmondson,

        On May 6, 2019, you accepted service of Strike’s 3 subpoenas on each of John Doe’s
experts in this matter (Kalman C. Toth, Economics International Corp. c/o Eric Fruits, and
Deadbolt Forensics LLC c/o Michael Yasumoto). I understand that the experts have demanded
payment for time estimated in responding to the subpoenas. On June 4, 2019, I sent you an
email advising that I had not received any production, nor an invoice from any expert itemizing
the cost (the number of hours required and the details of each task). I also noted that Plaintiff
would be willing to pay the cost of copying and shipping as well as any expert hourly fee for the
time spent on tasks which required expert knowledge. On June 7, 2019, you e-mailed me Mr.
Fruits’ cost break down which totals 13.08 hours. At Mr. Fruits’ $350 hourly rate, this equals
$4,579.17. Although less that Dr. Toth’s estimate, Mr. Fruits still demands payment for basic
culling and producing documents. Based on our e-mail exchange it became clear that Mr. Fruits
will not comply with Strike 3’s subpoena until he is paid. I am writing this letter to narrow this
issue of compensation as well as to address the objections listed in Mr. Fruits’ formal subpoena
response.
                             COMPENSATION OF MR. FRUITS

       First, by nature, a subpoena duces decum simply requests the production of documents.
And, the 2007 amendment to Rule 26, “changed the Rule's broad language and specifically
provided for expert witness compensation only for discovery conducted pursuant to Rule
26(B)(4)(A)—depositions.” Young v. Liberty Mut. Grp. Inc., No. CV-12-02302-PHX-JAT, 2015
WL 12669890, at *1 (D. Ariz. Jan. 8, 2015). Thus, the rule clearly excludes payment for the
production of documents.

       Second, a number of Strike’s subpoena requests seek documents Mr. Fruits relied upon or
considered in forming his opinions. Mr. Fruits’ expert report refers to a host of documents
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June 11, 2019
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which: (i) Strike 3 does not have; and (ii) are not publicly available (or if it is, the expert report
does not describe the document sufficiently enough for Strike 3 to locate it). For example, Mr.
Fruits cited (and therefore relied on) a number of website articles that have since been taken
down from their respective websites.1 A citation which fails to lead the reader to the source or
any avenue on which to obtain the source is tantamount to a failure to disclose the facts or data
considered. Fed. R. Civ. P. 26(a)(2)(B)(ii) requires an expert to produce a report that contains
“the fact or data considered by the witness in forming [his opinions][.]” The notion that Plaintiff
would have to pay for the production of documents already required to be produced by the expert
is absurd. Plaintiff is unwilling to pay the cost for production here since Mr. Fruits was required
under Rule 26(a) to disclose much of the material the subpoena requested anyway, and
“[r]equired disclosures have never been compensable[.]” Young v. Liberty Mut. Grp. Inc., No.
CV-12-02302-PHX-JAT, 2015 WL 12669890, at *2 (D. Ariz. Jan. 8, 2015). Simply put,
“[b]ecause the Rule requires the retaining party to produce these documents, [Strike 3] should
not have to pay the expert for collecting these documents.” Ndubizu v. Drexel Univ., No. CIV.A.
07-3068, 2011 WL 6046816, at *8 (E.D. Pa. Nov. 16, 2011), report and recommendation
adopted, No. CIV.A. 07-3068, 2011 WL 6058009 (E.D. Pa. Dec. 6, 2011).

        Finally, Strike 3’s subpoena does not solicit expert opinions or require any special
expertise that would warrant a $350 hourly rate. This is further established by the fact that
nearly all of Mr. Fruits’ listed time is comprised of locating, copying, and e-mailing (or mailing)
the requested documents. Case law supports Strike 3’s position that a party is not responsible for
paying an expert’s hourly expert rate to conduct administrative tasks in comply with a subpoena.
Estate of Lynott by & through Lynott v. Luckovich, No. C14-0503RSL, 2016 WL 11271942, at
*2 (W.D. Wash. Mar. 3, 2016).

        Notwithstanding the foregoing, Strike 3 agrees to pay: (1) the reasonable cost of any
third-party copying service and shipping; (2) the reasonable cost of electronic production through
a cloud-service if that would be easier for the experts; and (3) the reasonable cost of any task
which is considered an “expert” task because use of the expert’s expertise.

        As a side note, please be advised that Mr. Fruits’ responses improperly fail to re-state the
requests. And, although a number of the responses state that Mr. Fruits will produce documents
that are discoverable pursuant to FRCP 26 and 34, these responses conveniently exclude
“responsive” documents to which Mr. Fruits believes may be “undiscoverable.” To facilitate a
proper meet and confer, Plaintiff needs to know which (or what category of) documents are
being withheld on the basis that they are “undiscoverable” or on the basis of a listed objection.
Lastly, Plaintiff would like to confirm that Mr. Fruits need not produce responsive documents

1
 See <https://www.custostech.com/custos-video/>, cited to on Page 7 of Mr. Fruits’ Amended Expert Report. See
also <https://techfinancials.co.za/2018/06/21/this-sa-startup-is-fighting-global-problem-of-online-piracy-using-
bitcoin-blockchain/>, cited to on page 7 of Mr. Fruits’ Amended Expert Report.
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which Defendant (or defense counsel) has already produced to Plaintiff in this matter. Further,
Mr. Fruits need not produce any of the responsive documents already on the public docket in this
case. This should reduce any time he would need to spend on production.

             ECONOMICS INTERNATIONAL CORP. A/K/A ERIC FRUITS’
                          DEFICIENT RESPONSES

        Request No. 1 seeks “YOUR complete case file for this ACTION.” Your response states,
“The objection is overbroad in that ‘complete case file’ is not defined. Further the request calls
for documents that are not discoverable pursuant to FRCP 26. Further certain documents, such as
the complaint, amended complaint, and attached exhibits that are equally available to the
requesting party. Expert will produce documents that are discoverable pursuant to FRCP 26 and
34.” Strike 3’s subpoena defined “file” as “the complete file, folder, binder, or other filing
system, and all documents contained therein as of the date of production, and all documents not
physically in the file, folder, binder, or other filing system that are normally kept within the file,
folder, binder, or other filing system in the normal course of business.” To clarify further, Strike
3’s meaning of “complete case file” is the entire contents within the file you use in the normal
course of business to organize and store the documents for this action. Although Mr. Fruits’
responses states that he will produce documents that are discoverable pursuant to the Rules,
Strike 3 demands clarification on which documents are not being produced pursuant to an
objections listed.

        Request No. 2 seeks, “YOUR complete time and billing records for services YOU
completed in this ACTION.” Mr. Fruits’ response states, “Expert will produce documents that
are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ responses states that he will
produce documents that are discoverable pursuant to the Rules, Strike 3 demands clarification on
which responsive documents are being withheld on the basis that they are ‘undiscoverable.’

        Request No. 4 seeks “All DOCUMENTS setting forth or describing the nature and scope
of YOUR assignment in this ACTION.” Mr. Fruits’ response states, “Expert will produce
documents that are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ responses
states that he will produce documents that are discoverable pursuant to the Rules, Strike 3
demands clarification on which responsive documents being withheld on the basis that they are
‘undiscoverable.’

        Request No. 5 seeks, “All COMMUNICATIONS between YOU, on the one hand, and
the party or the attorney for the party who retained, hired or designated YOU as an expert
witness in this ACTION on the other hand, setting forth or describing the nature and scope of
YOUR assignment in this ACTION.” Mr. Fruits’ response states, “The request calls for
documents that are not discoverable pursuant to FRCP 26. Expert will produce all of the final
expert reports.” Although Mr. Fruits’ responses states that he will produce the final expert
reports, those are not the only documents sought in this request. Indeed, the communications
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between John Doe’s attorneys and the expert are requested. And, Mr. Fruits’ fails to explain
what requested documents are not discoverable. Further, although “Rules 26(b)(3)(A) and (B)
protect communications between the party's attorney and any witness required to provide a report
under Rule 26(a)(2)(B),” the rule notes an exception “to the extent that the communications: (i)
relate to compensation for the expert's study or testimony; (ii) identify facts or data that the
party's attorney provided and that the expert considered in forming the opinions to be expressed;
or (iii) identify assumptions that the party's attorney provided and that the expert relied on in
forming the opinions to be expressed.” Fed. R. Civ. P. 26 (b)(4)(C)(i)-(iii). Accordingly,
Plaintiff will move to compel the production of the communications which fall into those
categories.

        Request No. 6 seeks, “All DOCUMENTS setting forth or describing any limitation on the
nature and scope of YOUR assignment in this ACTION.” Mr. Fruits’ response states, “Expert
will produce documents that are discoverable pursuant to FRCP 26 and 34.” Although Mr.
Fruits’ responses states that he will produce documents that are discoverable pursuant to the
Rules, Strike 3 demands clarification on which responsive documents are being withheld on the
basis that they are ‘undiscoverable.’

         Request No. 7 seeks, “All COMMUNICATIONS between YOU, on the one hand, and
the party or the attorney for the party who retained, hired or designated YOU as an expert
witness in this ACTION on the other hand, setting forth or describing any limitation on the
nature and scope of YOUR assignment in this ACTION.” Mr. Fruits’ response states, “The
request calls for documents that are not discoverable pursuant to FRCP 26. Expert will produce
all of the final expert reports.” Although Mr. Fruits’ responses states that he will produce the
final expert reports, those are not the only documents sought in this request. Indeed, the
communications between John Doe’s attorneys and the expert are requested. And, Mr. Fruits’
fails to explain which responsive documents are not discoverable.

        Request No. 8 seeks, “All written retainer, fee agreements, or engagement letters
regarding YOUR assignment in this ACTION.” Mr. Fruits’ response states, “Expert will produce
documents that are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ responses
states that he will produce documents that are discoverable pursuant to the Rules, Strike 3
demands clarification on which responsive documents are being withheld on the basis that they
are ‘undiscoverable.’

        Request No. 9 seeks, “All COMMUNICATIONS RELATED to the written retainer, fee
agreements, or engagement letters regarding YOUR assignment in this ACTION between YOU
and the party or the attorney for the party who retained, hired or designated YOU as an expert
witness in this ACTION.” Mr. Fruits’ response states, “The request calls for documents that are
not discoverable pursuant to FRCP 26. Expert will produce all of the final expert reports.”
Although Mr. Fruits’ responses states that he will produce the final expert reports, those are not
the only documents sought in this request. Indeed, the communications between John Doe’s
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attorneys and the expert are requested. And, Mr. Fruits’ fails to explain which responsive
documents are not discoverable.

        Request No. 10 seeks, “All DOCUMENTS upon which YOUR opinions and conclusions
in this ACTION are based.” Mr. Fruits’ response states, “Expert will produce documents that are
discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ responses states that he will
produce documents that are discoverable pursuant to the Rules, Strike 3 demands clarification on
which responsive documents are being withheld on the basis that they are ‘undiscoverable.’

        Request No. 11 seeks, “All DOCUMENTS prepared by YOU including, but not limited
to, scientific, technical, or professional articles, books, texts, treatises, journals, or similar
publications which have any relevance to the subject(s) to which YOUR testimony relates to
YOUR opinions and conclusions in this ACTION.” Mr. Fruits’ response states, “Expert will
produce documents that are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’
responses states that he will produce documents that are discoverable pursuant to the Rules,
Strike 3 demands clarification on which responsive documents are being withheld on the basis
that they are ‘undiscoverable.’

        Request No. 12 seeks, “All DOCUMENTS including any scientific, technical, or
professional articles, texts, treatises, journals, or similar publications which YOU read, referred
to, considered, or relied upon in arriving at or forming YOUR opinions and conclusions in this
ACTION.” Mr. Fruits’ response states, “The request calls for documents that are not
discoverable pursuant to FRCP 26. Expert will produce all of the final expert reports.” Although
Mr. Fruits’ responses states that he will produce the final expert reports, those are not the only
documents sought in this request. And, Mr. Fruits’ fails to explain which responsive documents
are not discoverable.

        Request No. 13 seeks, “All DOCUMENTS demonstrating the amount of time YOU
personally spent on this ACTION.” Mr. Fruits’ response states, “Expert will produce documents
that are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ responses states that he
will produce documents that are discoverable pursuant to the Rules, Strike 3 demands
clarification on which responsive documents are being withheld on the basis that they are
‘undiscoverable.’

         Request No. 14 seeks, “All DOCUMENTS demonstrating exactly how YOU spent
YOUR time in this ACTION.” Mr. Fruits’ response states, “Expert will produce documents that
are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ response states that he will
produce documents that are discoverable pursuant to the Rules, Strike 3 demands clarification on
which responsive documents are being withheld on the basis that they are ‘undiscoverable.’ To
be clear, this request only seeks documents such as time sheet or logs of time and tasks entered
for this matter.
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        Request No. 15 seeks, “All DOCUMENTS showing the gross compensation and
expenses paid to YOU to date for YOUR services as an expert witness by the party designating
YOU as an expert witness in this ACTION.” Mr. Fruits’ response states, “Expert will produce
documents that are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ response
states that he will produce documents that are discoverable pursuant to the Rules, Strike 3
demands clarification on which responsive documents are being withheld on the basis that they
are ‘undiscoverable.’

        Request No. 16 seeks, “All DOCUMENTS showing the gross compensation and
expenses owed to YOU for YOUR services as an expert witness by the party designating YOU
as an expert witness in this ACTION.” Mr. Fruits’ response states, “Expert will produce
documents that are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ response
states that he will produce documents that are discoverable pursuant to the Rules, Strike 3
demands clarification on which responsive documents are being withheld on the basis that they
are ‘undiscoverable.’

        Request No. 17 seeks, “All DOCUMENTS showing the gross compensation and
expenses paid to YOU for your services in the past four (4) years as an expert witness or expert
consultant in all other cases by the same party or same attorney(s) for the party designating you
as an expert witness in this ACTION.” Mr. Fruits’ response claims that the request is
unintelligible. However, it is intelligible. Nevertheless, Plaintiff offers the following
clarification: Plaintiff seeks documents which establish total compensation that Defendant or his
attorney has ever paid Mr. Fruits. Please let us know if this sufficiently clarifies the request.

        Request No. 18 seeks, “All DOCUMENTS showing the gross compensation and
expenses owed to YOU for your services in the past four (4) years as an expert witness or expert
consultant in all other cases by the same party or same attorney(s) for the party designating you
as an expert witness in this ACTION.” Mr. Fruits’ response claims that the request is
unintelligible. However, it is intelligible. Nevertheless, Plaintiff offers the following
clarification: Plaintiff seeks documents which establish total compensation which Defendant or
defense counsel owes Mr. Fruits. Please let us know if this sufficiently clarifies the request.

        Request No. 19 seeks, “All DOCUMENTS showing the results of tests, including
destructive testing, conducted by YOU in this ACTION.” Mr. Fruits’ response states, “Expert
will produce documents that are discoverable pursuant to FRCP 26 and 34.” Although Mr.
Fruits’ response states that he will produce documents that are discoverable pursuant to the
Rules, Strike 3 demands clarification on which responsive documents are being withheld on the
basis that they are ‘undiscoverable.’

        Request No. 20 seeks, “All DOCUMENTS showing or listing the raw data, including test
protocols resulting from any test performed by YOU or at YOUR direction in this case.” Mr.
Fruits’ response states, “Expert will produce documents that are discoverable pursuant to FRCP
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26 and 34.” Although Mr. Fruits’ response states that he will produce documents that are
discoverable pursuant to the Rules, Strike 3 demands clarification on which responsive
documents are being withheld on the basis that they are ‘undiscoverable.’

        Request No. 21 seeks, “All DOCUMENTS analyzing the raw data resulting from any test
performed by YOU or at YOUR direction in this ACTION.” Mr. Fruits’ response states, “Expert
will produce documents that are discoverable pursuant to FRCP 26 and 34.” Although Mr.
Fruits’ response states that he will produce documents that are discoverable pursuant to the
Rules, Strike 3 demands clarification on which responsive documents are being withheld on the
basis that they are ‘undiscoverable.’

        Request No. 22 seeks, “All DOCUMENTS setting forth YOUR opinions and conclusions
in this ACTION.” Mr. Fruits’ response states, “Expert will produce documents that are
discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ response states that he will
produce documents that are discoverable pursuant to the Rules, Strike 3 demands clarification on
which responsive documents are being withheld on the basis that they are ‘undiscoverable.’

       Request No. 23 seeks, “All DOCUMENTS setting forth the opinions and conclusions
YOU will be giving at trial in this ACTION.” Mr. Fruits’ response states, “Question is vague
and ambiguous. EXPERT does not know what questions that counsel will ask at trial or what
documents will be handed to during trial. Expert will produce documents that are discoverable
pursuant to FRCP 26 and 34.” Expert opinions and conclusion are predetermined prior to trial.
Indeed, they are the very basis of an expert report. Thus, this request is not vague and
ambiguous. Although Mr. Fruits’ response states that he will produce documents that are
discoverable pursuant to the Rules, Strike 3 demands clarification on which responsive
documents are being withheld on the basis of the objection or on the basis that they are
‘undiscoverable.’

         Request No. 24 seeks, “All DOCUMENTS setting forth the basis(es) for each of the
opinions and conclusions YOU will be giving at trial in this ACTION.” Mr. Fruits’ response
states, “Question is vague and ambiguous. EXPERT does not know what questions that counsel
will ask at trial or what documents will be handed to during trial. Expert will produce documents
that are discoverable pursuant to FRCP 26 and 34.” Expert opinions and conclusion are
predetermined prior to trial. Indeed, they are the very basis of an expert report. Thus, this
request is not vague and ambiguous. Although Mr. Fruits’ response states that he will produce
documents that are discoverable pursuant to the Rules, Strike 3 demands clarification on which
responsive documents are being withheld on the basis of the objection or on the basis that they
are ‘undiscoverable.’

        Request No. 25 seeks, “All DOCUMENTS setting forth the reasons or reasoning for each
of the opinions and conclusions YOU will be giving at trial in this ACTION.” Mr. Fruits’
response states, “Question is vague and ambiguous. EXPERT does not know what questions that
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counsel will ask at trial or what documents will be handed to during trial. Expert will produce
documents that are discoverable pursuant to FRCP 26 and 34.” Expert opinions and conclusion
are predetermined prior to trial. Indeed, they are the very basis of an expert report. Thus, this
request is not vague and ambiguous. Although Mr. Fruits’ response states that he will produce
documents that are discoverable pursuant to the Rules, Strike 3 demands clarification on which
responsive documents are being withheld on the basis of the objection or on the basis that they
are ‘undiscoverable.’

          Request No. 262 seeks, “All COMMUNICATIONS between YOU and the party who
designated YOU as an expert in this ACTION.” Mr. Fruits’ response states, “The request calls
for documents that are not discoverable pursuant to FRCP 26. Expert will produce all of the final
expert reports.” Although Mr. Fruits’ response states that he will produce the final expert reports,
those are not the only documents sought in this request. Indeed, the communications between
John Doe’s attorneys and the expert are requested. And, Mr. Fruits’ fails to explain which
responsive documents are not discoverable. Further, although “Rules 26(b)(3)(A) and (B)
protect communications between the party's attorney and any witness required to provide a report
under Rule 26(a)(2)(B),” the rule notes an exception “to the extent that the communications: (i)
relate to compensation for the expert's study or testimony; (ii) identify facts or data that the
party's attorney provided and that the expert considered in forming the opinions to be expressed;
or (iii) identify assumptions that the party's attorney provided and that the expert relied on in
forming the opinions to be expressed.” Fed. R. Civ. P. 26 (b)(4)(C)(i)-(iii). Accordingly,
Plaintiff will move to compel the production of the communications which fall into those
categories.

         Request No. 27 seeks, “All COMMUNICATIONS between YOU and the attorney(s) for
the party who designated YOU as an expert in this ACTION.” Mr. Fruits’ response states, “The
request calls for documents that are not discoverable pursuant to FRCP 26. Expert will produce
all of the final expert reports.” Although Mr. Fruits’ response states that he will produce the final
expert reports, those are not the only documents sought in this request. Indeed, the
communications between John Doe’s attorneys and the expert are requested. And, Mr. Fruits’
fails to explain which responsive documents are not discoverable. Further, although “Rules
26(b)(3)(A) and (B) protect communications between the party's attorney and any witness
required to provide a report under Rule 26(a)(2)(B),” the rule notes an exception “to the extent
that the communications: (i) relate to compensation for the expert's study or testimony; (ii)
identify facts or data that the party's attorney provided and that the expert considered in forming
the opinions to be expressed; or (iii) identify assumptions that the party's attorney provided and
that the expert relied on in forming the opinions to be expressed.” Fed. R. Civ. P. 26 (b)(4)(C)(i)-

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  Please be advised that there is confusion as to Mr. Fruits’ response to Request No. 26 and 27. There may be a
scrivener’s error in his response. Plaintiff assumed that Mr. Fruits’ intended to assert the same objections and
response as Request no. 3. Please let us know if that is correct.
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(iii). Accordingly, Plaintiff will move to compel the production of the communications which
fall into those categories.

        Request No. 28 seeks, “All DOCUMENTS evidencing any and all interviews conducted
by YOU of any and all persons who have, or claim to have, personal knowledge of facts which
support the opinions and conclusions YOU will be giving at the trial of this ACTION.” Mr.
Fruits’ response states, “The request calls for documents that are not discoverable pursuant to
FRCP 26. Expert will produce all of the final expert reports.” Although Mr. Fruits’ response
states that he will produce the final expert reports, those are not the only documents sought in
this request. And, Mr. Fruits fails to explain which responsive documents are not discoverable.

        Request No. 29 seeks, “All notes taken or made by YOU or at YOUR direction regarding
this ACTION.” Mr. Fruits’ response states, “The request calls for documents that are not
discoverable pursuant to FRCP 26. Expert will produce all of the final expert reports.” Although
Mr. Fruits’ response states that he will produce the final expert reports, those are not the only
documents sought in this request. And, Mr. Fruits fails to explain which responsive documents
are not discoverable.

         Request No. 30 seeks, “All DOCUMENTS provided to YOU by or at the direction of the
party or the attorney for the party who retained, hired or designated YOU as an expert witness in
this ACTION.” Mr. Fruits’ response states, “Overbroad, vague, and requests irrelevant
documents.” Plaintiff agrees to limit this request to all documents provided to Mr. Fruits by
Defendant’s attorneys which contain facts or data Mr. Fruits relied on or considered in forming
his opinion in this case, or which: “(i) relate to compensation for the expert's study or testimony;
(ii) identify facts or data that the party's attorney provided and that the expert considered in
forming the opinions to be expressed; or (iii) identify assumptions that the party's attorney
provided and that the expert relied on in forming the opinions to be expressed.” Fed. R. Civ. P.
26 (b)(4)(C)(i)-(iii).

        Request No. 31 seeks, “All written reports prepared by other expert(s) upon which YOU
intend to rely on in this ACTION.” Mr. Fruits’ response states, “Expert will produce documents
that are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ response states that he
will produce documents that are discoverable pursuant to the Rules, Strike 3 demands
clarification on which responsive documents are being withheld on the basis that they are
‘undiscoverable.’

        Request No. 32 seeks, “All DOCUMENTS showing each assumption YOU made in
forming the opinions and conclusions YOU will be giving at the trial in this ACTION.” Mr.
Fruits’ response states, “Expert will produce documents that are discoverable pursuant to FRCP
26 and 34.” Although Mr. Fruits’ response states that he will produce documents that are
discoverable pursuant to the Rules, Strike 3 demands clarification on which responsive
documents are being withheld on the basis that they are ‘undiscoverable.’
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         Request No. 33 seeks, “All DOCUMENTS which show any inconsistencies in the
opinions and conclusions YOU will be giving at the trial in this ACTION.” Mr. Fruits’ response
states, “Expert will produce documents that are discoverable pursuant to FRCP 26 and 34.”
Although Mr. Fruits’ response states that he will produce documents that are discoverable
pursuant to the Rules, Strike 3 demands clarification on which responsive documents are being
withheld on the basis that they are ‘undiscoverable.’

        Request No. 34 seeks, “All sworn testimony by YOU as an expert witness, including
affidavits or declarations, deposition transcripts, or trial transcripts wherein YOU testified in the
last four (4) years.” Mr. Fruits’ response states, “Question is unintelligible and if intelligible, is
vague as to the term ‘same or similar issues.’” However, this request does not use the term
“’same or similar issues.” Further, to clarify, Plaintiff seeks all sworn testimony Mr. Fruits
provided in his capacity as an expert witness wherein he testified in the last four years. Please let
me know if this sufficiently clarifies the request.

         Request No. 35 seeks, “All sworn testimony by YOU as an expert witness, including
affidavits or declarations, expert reports, deposition transcripts or trial transcripts wherein YOU
testified on the same or similar issues in other action involving allegations of copyright
infringement through the BitTorrent network.” Mr. Fruits’ response states, “Question is
unintelligible and if intelligible, is vague as to the term ‘same or similar issues.’” To clarify,
Plaintiff seeks all sworn testimony Mr. Fruits provided in his capacity as an expert witness
wherein he testified about the BitTorrent network in the last four years. Please let me know if
this sufficiently clarifies the request.

         Request No. 36 seeks, “All expert reports by YOU that YOU are aware were either
served on any party or filed in any action involving allegations of copyright infringement
through the BitTorrent network.” Mr. Fruits’ response states, “Question is unintelligible and if
intelligible, clearly overbroad.” Plaintiff would like to modify its request to seek “All expert
reports YOU authored which (to the best of YOUR knowledge) were used in any action
involving allegations of copyright infringement through the BitTorrent network.” Please let me
know if this sufficiently clarifies the request.

        Request No. 37 seeks, “All sworn testimony by others, including affidavits or
declarations, depositions or otherwise which were read, reviewed, or relied upon by YOU
regarding or relating to the subject matter of this ACTION.” Mr. Fruits’ response states, “Expert
will produce documents that are discoverable pursuant to FRCP 26 and 34.” Although Mr.
Fruits’ response states that he will produce documents that are discoverable pursuant to the
Rules, Strike 3 demands clarification on which responsive documents are being withheld on the
basis that they are ‘undiscoverable.’
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        Request No. 38 seeks, “Any and all COMMUNICATIONS between YOU on the one
hand and the party or the attorney for the party who retained, hired or designated YOU as an
expert witness in this ACTION on the other hand, regarding payment arrangement for YOUR
expert services rendered in this ACTION.” Mr. Fruits’ response states, “Expert will produce
documents that are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ response
states that he will produce documents that are discoverable pursuant to the Rules, Strike 3
demands clarification on which responsive documents are being withheld on the basis that they
are ‘undiscoverable.’

         Request No. 39 seeks, “Any and all DOCUMENTS which supports YOUR contention
that “[i]t defied economic reasoning and common sense that Mr. Lanksy would form his business
and […] ‘risk everything’ without a strategy to mitigate the costs or anticipated efforts to
infringe on Strike 3’s works.’” Mr. Fruits’ response states, “Expert will produce documents that
are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ response states that he will
produce documents that are discoverable pursuant to the Rules, Strike 3 demands clarification on
which responsive documents are being withheld on the basis that they are ‘undiscoverable.’

        Request No. 40 seeks, “Any and all DOCUMENTS you relied on or reviewed to set forth
YOUR opinion that ‘Custos’ service or similar services would [be] more effective and less costly
that Strike’s litigation strategy[,]’ as listed on page 7 of YOUR AMENDED EXPERT
REPORT.” Mr. Fruits’ response states, “Expert will produce documents that are discoverable
pursuant to FRCP 26 and 34.” Although Mr. Fruits’ response states that he will produce
documents that are discoverable pursuant to the Rules, Strike 3 demands clarification on which
responsive documents are being withheld on the basis that they are ‘undiscoverable.’

        Request No. 41 seeks, “Any and all DOCUMENTS you relied on or reviewed to set forth
YOUR opinion that a copyright infringement notice ‘would provide an infringer the incentive to
convert to a subscriber[,]’ as listed on page 9 of YOUR AMENDED EXPERT REPORT.” Mr.
Fruits’ response states, “Expert will produce documents that are discoverable pursuant to FRCP
26 and 34.” Although Mr. Fruits’ response states that he will produce documents that are
discoverable pursuant to the Rules, Strike 3 demands clarification on which responsive
documents are being withheld on the basis that they are ‘undiscoverable.’

         Request No. 42 seeks, “Any and all DOCUMENTS you relied on or reviewed to set forth
YOUR opinion that a copyright infringement notice ‘to subscriber who is not the infringer could
result in proactive actions to prevent infringement, such as changing a wi-fi password[,]’ as listed
on page 9 of YOUR AMENDED EXPERT REPORT.” Mr. Fruits’ response states, “Expert will
produce documents that are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’
response states that he will produce documents that are discoverable pursuant to the Rules, Strike
3 demands clarification on which responsive documents are being withheld on the basis that they
are ‘undiscoverable.’
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       Request No. 43 seeks, “Any and all DOCUMENTS you relied on or reviewed to set forth
YOUR opinion that sending copyright infringement notices is ‘more effective than pursuing
lawsuits[,]’ as described on page 9 of YOUR AMENDED EXPERT REPORT.” Mr. Fruits’
response states, “Expert will produce documents that are discoverable pursuant to FRCP 26 and
34.” Although Mr. Fruits’ response states that he will produce documents that are discoverable
pursuant to the Rules, Strike 3 demands clarification on which responsive documents are being
withheld on the basis that they are ‘undiscoverable.’

        Request No. 44 seeks, “Any and all DOCUMENTS containing YOUR online search term
history you relied on or reviewed to set forth YOUR opinion that sending copyright infringement
notices is ‘more effective than pursuing lawsuits[,]’ as described on page 9 of YOUR
AMENDED EXPERT REPORT.” Mr. Fruits’ response states, “Expert will produce documents
that are discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ response states that he
will produce documents that are discoverable pursuant to the Rules, Strike 3 demands
clarification on which responsive documents are being withheld on the basis that they are
‘undiscoverable.’

       Request No. 45 seeks, “Any and all DOCUMENTS containing legal (case law) research
YOU conducted for this ACTION and in forming YOUR opinions listed in YOUR AMENDED
EXPERT REPORT.” Mr. Fruits’ response states, “Expert will produce documents that are
discoverable pursuant to FRCP 26 and 34.” Although Mr. Fruits’ response states that he will
produce documents that are discoverable pursuant to the Rules, Strike 3 demands clarification on
which responsive documents are being withheld on the basis that they are ‘undiscoverable.’

                        TELEPHONIC CONFERRAL SCHEDULING

       If we are unable to resolve the issue listed in this letter, I have been instructed to move to
compel production of records pursuant to the subpoena. Please advise of a date and time when
we can hold a telephonic meet and confer conference. I am available June 13 and 14 at any time
between 9:00 a.m. and 5:00 p.m.

                                                      Sincerely,


                                                      Lincoln D. Bandlow
